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                               Exhibits to Request for Judicial Notice



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                   EXHIBIT A

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         FIDELITY NATIONAL TITLE COMPANY
         SUBDIVISiON DEPARTMENT 7
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                   Recording Requested By:
                   T. DUFFY
                                                                                                    JUL 06,2006                         11:36 AM
                                                                                                            OFFICIAL RECORDS
                                               6747                                                SAN DIEGO COUNTY RECORDERS OFFICE
                                                                                                   GREGORY J. SMITH. COUNTY RECORDER
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                   Prepared By:
                   LETICIA REED


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                                                             DEED Of TRUST
                                                                                          MIN 1000157-0006984217-3




                   DEFINITIONS

                   Words used in multiple sections of this document are defined below and other words are defined in Sections 3,
                   11, 13, 18,20 and 21, Certain rules regarding the usage of words used in this document are also provided in
                   Section 16.
                   (A) “Security Instrument” means this document, which is dated JUNE 23, 2006 , together


                   with all Riders to this document.
                   (B) “Borrower” is
                   HILARIO GONZALES, AND DAWN MELKUS-GONZALES, HUSBAND AND WIFE AS COMMUNITY
                   PROPERTY WITH RIGHTS OF               SURVIVORSHIP




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                                                                                         DOC ID 4: 00013670438706006
                    Borrower’s address is
                    1043 CARRYLL PARK COURT, FALIBROOK, CA 92028
                    Borrower is the trustor under this Security Instrument.
                    (C) “Lender” is
                    AMERICA’ S WHOLESALE LENDER
                    Lcnder is a CORPORATION
                    organized and existing under the laws of NEW YORK
                    Lender’s address is
                    4500 Park Granada MSN4 SVB-314, Calabasas, CA 91302-1513
                    (D) “Trustee” is
                    CTC REAL ESTATE SERVICES
                    400 COUNTRYWIDE WAY, MSN SV-88, SIMI VALLEY, CA 93065
                    (E) “MERS” is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is acting
                    solely as a nominee for Lender and Lender’s successors and assigns. MERS is the beneficiary under this
                    Security Instrument. MERS is organized and existing under the laws of Delaware, and has an address and
                    telephone number of P.O. Box 2026, flint, MI 4850 1-2026, tel. (886) 679-MERS.
                    (F) “Note” means the promissory note signed by Borrower and dated JUNE 23, 2006                       The  .




                    Note states that Borrower owes Lender
                    ONE MILLION and 00/100

                     Dollars (U.S. $1,000, 000.00          ) plus interest. Borrower has promised to pay this debt in regular
                     Periodic Payments and to pay the debt in fill not later than JULY 01, 2036
                     (G) “Property” means the property that is described below under the heading “Transfer of Rights in the
                     Property.”
                     (H) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
                     due under the Note, and all sums due under this Security Instrument, plus interest.
                     (I) “Riders” means alt Riders to this Security Instrument that are executed by Borrower. The following
                     Riders are to be executed by Borrower [check box as applicable]:

                            Adjustable Rate Rider        Condominium Rider                      Second Home Rider
                       E Balloon Rider              E Planned Unit Development Rider            1-4 Family Rider
                       E VA Rider                   E Biweekly Payment Rider                    Other(s) [specify]


                     (.1) “Applicable Law” means all controlling applicable federal, state and local statutes, regulations,
                     ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
                     non-appealable judicial opinions.
                     (K) “Community Association Dues, Fees, and Assessments” means alt dues, fees, assessments and other
                     charges that ai-e imposed on Borrower or the Property by a condominium association, homeowners association
                     or similar organization.
                     (L) “Electronic Funds Transfer” means any transfer of funds, other than a transaction originated by check,
                     draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
                     computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
                     account. Such term includes, but is not limited to, point-of-sale transfers, automated teller machine
                     transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
                     (M) “Escrow Items” means those items that are described in Section 3.
                     (N) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or proceeds paid by
                     any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage
                     to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii)

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                     conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
                     condition of the Property.
                     (0) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default on, the
                     Loan.
                     fP) “Periodic Payment” means the regularly scheduled amount due for (i) principal and interest under the
                     Note, plus (ii) any amounts under Section 3 of this Security Instrument.
                     (Q) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
                     implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or
                     any additional or successor legislation or regulation that governs the same subject matter. As used in this
                     Security Instrument, “RESPA” refers to all requirements and restrictions that are imposed in regard to a
                     “federally related mortgage loan” even if the Loan does not qualit’ as a “federally related mortgage loan”
                     under RESPA.
                     (R) “Successor In Interest of Borrower” means any party that has taken title to the Property, whether or not
                     that party has assumed Borrower’s obligations under the Note and/or this Security Instrument.

                     TRANSFER OF RIGHTS IN THE PROPERTY
                     The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender’s
                     successors and assigns) and the successors and assigns of MERS. This Security Instrument
                     secures to Lender: fi) the repayment of the Loan, and all renewals, extensions and modifications
                     of the Note; and (ii) the performance of Borrower’s covenants and agreements under this
                     Security Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to
                     Trustee, in trust, with power of sale, the following described property located in the
                                         COUNTY                      of               SAN DIEGO
                                   [Type of Recording Jurisdiction)                             [Name of Recording Jurisdiction]
                     SEE EXHIBIT “A” ATTACHED HERETO AND MADE A PART HEREOF.




                     Parcel ID Number 126-490-07                                                       which currently has the address of
                                                            30945 CUVAISON, BONSALL
                                                                        [Street/City]
                     California     92003         (“Property Address”):
                                   [Zip Code)

                          TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
                     appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also
                     be covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the
                     “Property.” Borrower understands and agrees that MERS holds only legal title to the interests granted by
                     Borrower in this Security Instrument, but, if necessary to comply with law or custom, MERS (as nominee for
                     Lender and Lender’s successors and assigns) has the right: to exercise any or all of those interests, including,


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                     but not limited to, the right to foreclose and sell the Property; and to take any action required of Lender
                     including, but not limited to, releasing and canceling this Security Instrument.
                           BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the
                     right to grantand convey the Property and that the Property is unencumbered, except for encumbrances of
                     record. Borrower warrants and will defend generally the title to the Property against all claims and demands,
                     subject to any encumbrances of record.
                           THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
                     covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
                     property.

                           UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                           1. Payment of Principal, interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower
                     shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment
                     charges and late charges due under the Note. Borrower shall also pay hinds for Escrow Items pursuant to
                     Section 3. Payments due under the Note and this Security Instrument shall be made in U.S. currency.
                     However, if any check or other instrument received by Lender as payment under the Note or this Security
                     Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments due under
                     the Note and this Security Instrument be made in one or more of the following forms, as selected by Lender:
                     (a) cash; (b) money order; (c) certified check, bank check, treasurer’s check or cashier’s check, provided any
                     such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality, or
                     entity; or (d) Electronic Funds Transfer.
                           Payments are deemed received by Lender when received at the location designated in the Note or at such
                     other location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender
                     may return any payment or partial payment if the payment or partial payments are insufficient to bring the
                     Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan current,
                     without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial payments in
                     the future, but Lender is not obligated to apply such payments at the time such payments are accepted. If each
                     Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on unapptied
                     funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current. If
                     Borrower does not do so within a reasonable period of time, Lender shall either apply such funds or return
                     them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under
                     the Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the future
                     against Lender shall relieve Borrower from making payments due under the Note and this Security Instrument
                     or performing the covenants and agreements secured by this Security Instrument.
                           2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
                     accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the
                     Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to
                     each Periodic Payment in the order in which it became due. Any remaining amounts shall be applied first to
                     late charges, second to any other amounts due under this Security Instrument, and then to reduce the principal
                     balance of the Note.
                           If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
                     sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the
                     late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
                     Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in
                     hill. To the extent that any excess exists after the payment is applied to the full payment of one or more
                     Periodic Payments, such excess may be applied to any late charges due, Voluntary prepayments shall be
                     applied first to any prepayment charges and then as described in the Note.
                           Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
                     Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

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                          3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
                    the Note, until the Note is paid in fitil, a sum (the “Funds’) to provide for payment of amounts due for: (a)
                    taxes and assessments and other items which can attain priority over this Security Instrument as a lien or
                    encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums
                    for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or
                    any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in
                    accordance with the provisions of Section 10. These items are called “Escrow Items.” At origination or at any
                    time during the term of the Loan, Lender may require that Community Association Dues, fees, and
                    Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
                    Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shalt
                    pay Lender the funds for Escrow Items unless Lender waives Borrower’s obligation to pay the Funds for any
                    or all Escrow Items. Lender may waive Borrower’s obligation to pay to Lender Funds for any or all Escrow
                    Items at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower shall pay
                    directly, when and where payable, the amounts due for any Escrow Items for which payment of Funds has
                    been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment
                    within such time period as Lender may require. Borrower’s obligation to make such payments and to provide
                    receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
                    Instrument, as the phrase “covenant and agreement” is used in Section 9. If Borrower is obligated to pay
                    Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item,
                    Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be obligated
                    under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or all Escrow
                    Items at any time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall
                    pay to Lender all Funds, and in such amounts, that are then required under this Section 3.
                          Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
                    Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require
                    under RESPA. Lender shall estimate the amount of funds due on the basis of current data and reasonable
                    estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
                          The Funds shall be held in an institution whose deposits arc insured by a federal agency, instrumentality,
                    or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
                    Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
                    RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow
                    account, or verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable
                    Law permits Lender to make such a charge. Unless an agreement is made in writing or Applicable Law
                    requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings
                    on the funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the Funds,
                    Lender shall give to Borrower, without charge, an annual accounting of the Funds as required by RESPA.
                          If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower
                    for the excess funds in accordance with RESPA, If there is a shortage of Funds held in escrow, as defined
                    under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the
                    amount necessary to make up the shortage in accordance with RESPA, but in no more than 12 monthly
                    payments. If there is a deficiency of funds held in escrow, as defined under RESPA, Lender shall notify
                    Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
                    deficiency in accordance with RESPA, but in no more than 12 monthly payments.
                          Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
                    Borrower any Funds held by Lender.




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                           4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable
                     to the Property which can attain priority over this Security Instwment, leasehold payments or ground rents on
                     the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these
                     items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
                           Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
                     Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
                     Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or
                     defends against enforcement of the lien in, legal proceedings which in Lender’s opinion operate to prevent the
                     enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded;
                     or (c) secures from the holder of the lien an agreement satistactoEy to Lender subordinating the lien to this
                     Security Instrument. If Lender determines that any part of the Property is subject to a lien which can attain
                     priority over this Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days
                     of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the actions set
                     forth above in this Section 4.
                           Lender may require Borrower to pay a one-time charge for a real estate tax verification an&or reporting
                     service used by Lender in connection with this Loan.
                           5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
                     Property insured against loss by fire, hazards included within the term “extended coverage,” and any other
                     hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance. This
                     insurance shall be maintained in the amounts (including deductible levels) and for the periods that Lender
                     requires, What Lender requires pursuant to the preceding sentences can change during the term of the Loan.
                     The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender’s right to
                     disapprove Borrower’s choice, which right shall not be exercised unreasonably. Lender may require Borrower
                     to pay, in connection with this Loan, either: (a) a one-time charge for flood zone determination, certification
                     and trucking services; or (b) a one-time charge for flood zone determination and certification services and
                     subsequent charges each time remappinga or similar changes occur which reasonably might affect such
                     determination or certification. Borrower shall also be responsible for the payment of any fees imposed by the
                     Federal Emergency Management Agency in connection with the review of any flood zone determination
                     resulting from an objection by Borrower.
                            If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
                     coverage, at Lender’s option and Borrower’s expense. Lender is under no obligation to purchase any particular
                     type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might not protect
                     Borrower, Borrower’s equity in the Property, or the contents of the Property, against any risk, hazard or
                     liability and might provide greater or lesser coverage than was previously in effect. Borrower acknowledges
                     that the cost of the insurance coverage so obtained might significantly exceed the cost of insurance that
                     Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shall become additional
                     debt of Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate from
                     the date of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower
                     requesting payment.
                           All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s right
                     to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee
                     andlor as an additional loss payee and Borrower further agrees to generally assign rights to insurance proceeds
                     to the holder of the Note up to the amount of the outstanding loan balance. Lender shall have the right to hold
                     the policies and renewal certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of




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                     paid premiums and renewal notices. If Borrower obtains any form of insurance coverage, not otherwise
                     required by Lender, for damage to, or destruction of, the Property, such policy shall include a standard
                     mortgage clause and shall name Lender us mortgagee andior as an additional loss payee and Borrower fitrther
                     agrees to generally assign rights to insurance proceeds to the holder of the Note up to the amount of the
                     outstanding loan balance.
                           In the event of toss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
                     make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in
                     writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shalt be
                     applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
                     Lender’s security is not lessened. During such repair and restoration period, Lender shall have the tight to hold
                     such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work has
                     been completed to Lender’s satisfaction, provided that such inspection shall be undertaken promptly. Lender
                     may disburse proceeds for the repairs and restoration in a single payment or in a series of progress payments
                     as the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to be
                     paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on
                     such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not be paid out of
                     the insurance proceeds and shall be the sole obligation of Borrower, If the restoration or repair is not
                     economically feasible or Lender’s security would be lessened, the insurance proceeds shall be applied to the
                     sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
                     Such insurance proceeds shall be applied in the order provided for in Section 2.
                           If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim
                     and related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance
                     carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will
                     begin when the notice is given. In either event, or if Lender acquires the Property under Section 22 or
                     otherwise, Borrower hereby assigns to Lender (a) Borrower’s tights to any insurance proceeds in an amount
                     not to exceed the amounts unpaid under the Note or this Security Instniment, and (b) any other of Borrower’s
                     rights (other than the right to any refund of unearned premiums paid by Borrower) under all insurance policies
                     covering the Property, insofar as such rights are applicable to the coverage of the Property. Lender may use
                     the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this
                     Security Instrument, whether or not then due.
                           6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower’s principal residence
                     within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
                     Borrower’s principal residence for at least one year after the date of occupancy, unless Lender otherwise
                     agrees in writing, which Consent shall not be unreasonably withheld, or unless extenuating circumstances exist
                     which arc beyond Borrower’s control.
                           7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
                     destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property,
                     Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent
                     the Property from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to
                     Section 5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property if
                     damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid in
                     connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or
                     restoring the Property only if Lender has released proceeds for such purposes. Lender may disburse proceeds
                     for the repairs and restoration in a single payment or in a series of progress payments as the work is
                     completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the Property,
                     Borrower is not relieved of Borrower’s obligation for the completion of such repair or restoration.




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                            Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
                     reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
                     Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.
                            8. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application process,
                     Borrower or any persons or entities acting at the direction of Borrower or with Borrower’s knowledge or
                     consent gave materially false, misleading, or inaccurate information or statements to Lender (or failed to
                     provide Lender with material information) in connection with the Loan. Material representations include, but
                     are not limited to, representations concerning Borrower’s occupancy of the Property as Borrowets principal
                     rcsidencc.
                           9. Protectf on of Lender’s Interest In the Property and Rights Under this Security Instrument. If (a)
                     Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a
                     legal proceeding that might significantly affect Lender’s interest in the Property and/or rights under this
                     Security Instrwnent (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
                     enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
                     regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
                     reasonable or appropriate to protect Lender’s interest in the Property and rights under this Security Instrument,
                     including protecting and/or assessing the vaLue of the Property, and securing and/or repairing the Property.
                     Lender’s actions can include, but are not limited to: (a) paying any sums secured by a lien which has priority
                     over this Security Instrument; (b) appearing in court; and (c) paying reasonable attorneys’ fees to protect its
                     interest in the Property and/or rights under this Security Instrument, including its secured position in a
                     bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to make
                     repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
                     other code violations or dangerous conditions, and have utilities turned on or oW Although Lender may take
                     action under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It
                     is agreed that Lender incurs no liability for not taking any or all actions authorized under this Section 9.
                           Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured
                     by this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement
                     and shall be payable, with such interest, upon notice from Lender to Borrower requesting payment.
                           If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
                     If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender
                     agrees to the merger in writing.
                            10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
                     Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the
                     Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
                     previously provided such insurance and Borrower was required to make scparatety designated payments
                     toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
                     substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to the
                     cost to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer selected
                     by Lender, If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall continue
                     to pay to Lender the amount of the separately designated payments that were due when the insurance coverage
                     ceased to be in effect. Lender will accept, use and retain these payments as a non-refundable loss reserve in
                     lieu of Mortgage Insurance. Such loss reserve shall be non-refimdable, notwithstanding the fact that the Loan
                     is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings on such
                     loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the
                     amount and for the period that Lender requires) provided by an insurer selected by Lender again becomes
                     available, is obtained, and Lender requires separately designated payments toward the premiums for Mortgage
                     Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
                     required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower


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                    shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable toss
                    reserve, until Lender’s requirement for Mortgage Insurance ends in accordance with any written agreement
                    between Borrower and Lender providing for such termination or until termination is required by Applicable
                    Law. Nothing in this Section 10 affects Borrower’s obligation to pay interest at the rate provided in the ‘Note.
                           Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
                    incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
                           Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter
                    into agreements with other parties that share or modify their risk, or reduce losses. These agreements are on
                    terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these
                    agreements. These agreements may require the mortgage insurer to make payments using any source of funds
                    that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance
                    premiums).
                          As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
                    other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive
                    from (or might be characterized as) a portion of Borrower’s payments for Mortgage Insurance, in exchange for
                    sharing or modifying the mortgage insurer’s risk, or reducing losses. If such agreement provides that an
                    affiliate of Lender takes a share of the insurer’s risk in exchange for a share of the premiums paid to the
                    insurer, the arrangement is often termed “captive reinsurance.” further;
                           (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
                    Insurance, or any other terms of the Loan. Such agreements will not Increase the amount Borrower will
                    owe for Mortgage Insurance, and they will not entitle Borrower to any refund.
                           (b) Any such agreements will not affect the rights Borrower has if any with respect to the
                                                                                                      -


                    Mortgage Insurance under the Homeowners Protection Act of 199$ or any other law. These rights may
                    include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage
                    Insurance, to have the Mortgage Insurance terminated automatically, andlor to receive a refund of any
                    Mortgage Insurance premiums that were unearned at the time of such cancellation or termination.
                           11. AssIgnment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
                    assigned to and shall be paid to Lender.
                           If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
                    Property, if the restoration or repair is economically feasible and Lender’s security is not lessened. During such
                    repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has
                    had an opportanity to inspect such Property to ensure the work has been completed to Lender’s satisfaction,
                    provided that such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in
                    a single disbursement or in a series of progress payments as the work is completed. Unless an agreement is
                    made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall
                    not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or
                    repair is not economically feasible or Lender’s security would be lessened, the Miscellaneous Proceeds shall
                    be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any,
                    paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2,
                           In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
                    shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
                    any, paid to Borrower.
                           In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
                    of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than
                    the amount of the sums secured by this Security Instrument immediately before the partial taking, destruction.
                    or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this Security




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                       Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the following fraction:
                       (a) the total amount of the sums secured immediately before the partial taking, destiuction, or loss in value
                       divided by (b) the fair market value of the Property immediately before the partial taking, destruction, or loss
                       in value. Any balance shall be paid to Borrower.
                             In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
                       of the Property immediately before the partial taking, destruction, or loss in value is less than the amount of
                       the sums secured immediately before the partial taking, destruction, or loss in value, unless Borrower and
                       Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this
                       Security Instrument whether or not the sums are then due.
                             If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
                       Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to
                       respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply
                       the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this
                       Security Instrument, whether or not then due. “Opposing Party” means the third party that owes Borrower
                       Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
                       Proceeds.
                             Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
                       Lender’s judgment, could result in forfeiture of the Property or other material impairment of Lender’s interest
                       in the Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration
                       has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a
                       ruling that, in Lender’s judgment, precludes forfeiture of the Property or other material impainnent of Lender’s
                       interest in the Property or rights under this Security Instrument. The proceeds of any award or claim for
                       damages that are attributable to the impairment of Lender’s interest in the Property are hereby assigned and
                       shall be paid to Lender.
                             All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in
                       the order provided for in Section 2.
                             12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
                       payment or modification of amortization of the sums secured by this Security Instrument granted by Lender to
                       Borrower or any Successor in tnterest of Borrower shall not operate to release the liability of Borrower or any
                       Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
                       Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modifS’ amortization of
                       the sums secured by this Security Instrument by reason of any demand made by the original Borrower or any
                       Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy including,
                       without limitation, Lender’s acceptance of payments from third persons, entities or Successors in Interest of
                       Borrower or in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any
                       right or remedy.
                             13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and
                       agrees that Borrower’s obligations and liability shall be joint and several. However, any Borrower who
                       co-signs this Security Instrument but does not execute the Note (a “co-signer’): (a) is co-signing this Security
                       Instrument only to mortgage, grant and convey the co-signer’s interest in the Property under the terms of this
                       Security Instrument; (b) is not personally obligated to pay the sums secured by this Security Instrument; and
                       (c) agrees that Lender and any other Borrower can agree to extend, modif’, forbear or make any
                       accommodations with regard to the terms of this Security Instrument or the Note without the co-signer’s
                       consent.




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                          Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower’s
                    obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrowers
                    rights and benefits under this Security Instrument. Borrower shall not be released from Borrower’s obligations
                    and liability under this Security Instrument unless Lender agrees to such release in writing. The covenants and
                    agreements of this Security Instrument shall bind (except as provided in Section 20) and benefit the successors
                    and assigns of Lender.
                          14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
                    Borrower’s default, for the purpose of protecting Lender’s interest in the Property and rights under this
                    Security Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees. In
                    regard to any other fees, the absence of express authority in this Security Instrument to charge a specific fee to
                    Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge fees that
                    are expressly prohibited by this Security Instrument or by Applicable Law.
                          If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
                    that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
                    permitted limits, then: (a) any such loan charge shall be reduced by the amount necessaiy to reduce the charge
                    to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted limits will
                    be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under the
                    Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be treated as
                    a partial prepayment without any prepayment charge (whether or not a prepayment charge is provided for
                    under the Note). Borrower’s acceptance of any such refund made by direct payment to Borrower will
                    constitute a waiver of any right of action Borrower might have arising out of such overcharge.
                          15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
                    be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have
                    been given to Borrower when mailed by first class mail or when actually delivered to Borrower’s notice
                    address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless
                    Applicable Law expressly requires otherwise, The notice address shall be the Property Address unless
                    Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
                    Lender of Borrower’s change of address. If Lender specifies a procedure for reporting Borrower’s change of
                    address, then Borrower shalt only report a change of address through that specified procedure. There may be
                    only one designated notice address under this Security Instrument at any one time. Any notice to Lender shall
                    be given by delivering it or by mailing it by first class mail to Lender’s address stated herein unless Lender has
                    designated another address by notice to Borrower. Any notice in connection with this Security Instrument
                    shall not be deemed to have been given to Lender until actually received by Lender. If any notice required by
                    this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
                    the corresponding requirement under this Security Instrument.
                          16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
                    by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations
                    contained in this Security Instrument arc subject to any requirements and limitations of Applicable Law.
                    Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but
                    such silence shall not be construed as a prohibition against agreement by contract. In the event that any
                    provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall
                    not affect other provisions of this Security Instrument or the Note which can be given effect without the
                    conflicting provision.
                          As used in this Security Instrument: (a) words of the masculine gender shaLl mean and include
                    corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and include
                    the plural and vice versa; and (c) the word “may” gives sole discretion without any obligation to take any
                    action.
                          t7. Borrower’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument.


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                          18. Transfer of the Property or a Benetkial Interest in Borrower. As used in this Section 18,
                    ‘Interest in the Property” means any legal or beneficial interest in the Property, including, but not limited to,
                   those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or escrow
                   agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.
                         If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not
                   a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written
                   consent, Lender may require immediate payment in full of all sums secured by this Security Instrument,
                   However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.
                          If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
                   provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
                   within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
                   sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
                   Instrument without further notice or demand on Borrower.
                          19. Borrower’s Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower
                   shall have the right to have enforcement of this Security Instrument discontinued at any time prior to the
                   earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this Security
                   Instrument; (b) such other period as Applicable Law might specit’ for the termination of Borrower’s right to
                   reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that Borrower:
                   (a) pays Lender all sums which then would be due under this Security Instrument and the Note as if no
                   acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses
                   incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys’ fees,
                   property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender’s interest
                   in the Property and rights under this Security Instrument; and fd) takes such action as Lender may reasonably
                   requite to assure that Lender’s interest in the Property and rights under this Security Instrument, and
                   Borrower’s obligation to pay the sums secured by this Security Instrument, shall continue unchanged. Lender
                   may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms,
                   as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer’s check or cashier’s
                   check, provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
                   instrumentality or entity; or (d) Electronic Funds Transfer, Upon reinstatement by Borrower, this Security
                   Instrument and obligations secured hereby shall remain fully effective as if no acceleration had occurred.
                   However, this right to reinstate shall not apply in the case of acceleration under Section 18.
                         20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the
                   Note (together with this Security Instrumnent) can be sold one or more times without prior notice to Borrower.
                   A sale might result in a change in the entity (known as the “Loan Servicer”) that collects Periodic Payments
                   due under the Note and this Security Instrument and performs other mortgage loan servicing obligations under
                   the Note, this Security Instrument, and Applicable Law. There also might be one or more changes of the Loan
                   Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be given
                   written notice of the change which will state the name and address of the new Loan Servicer, the address to
                   which payments should be made and any other information RESPA requires in connection with a notice of
                   transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the
                   purchaser of the Note, the mortgage toan servicing obligations to Borrower will remain with the Loan Servicer
                   or be transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise
                   provided by the Note purchaser.
                         Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
                   individual litigant or the member of a class) that arises from the other party’s actions pursuant to this Security
                   Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of
                   this Security Instrument, until such Borrower or Lender has notified the other party (with such notice given in



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                       compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
                       reasonable period after the giving of such notice to take corrective action. If Applicable Law provides a time
                       period which must elapse before certain action can be taken, that time period will be deemed to be reasonable
                       for purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant
                       to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to
                       satis’ the notice and opportunity to take corrective action provisions of this Section 20.
                             21. Hazardous Substances. As used in this Section 21: (a) “Hazardous Substances” are those substances
                       defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following
                       substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides,
                       volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials; (b)
                       “Environmental Law’ means federal laws and laws of the jurisdiction where the Property is located that relate
                       to health, safety or environmental protection; fc) “Environmental Cleanup’ includes any response action,
                       remedial action, or removal action, as defined in Environmental Law; and (d) an “Environmental Condition’
                       means a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.
                             Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
                       Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor
                       allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b)
                       which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous
                       Substance, creates a condition that adversely affects the value of the Property. The preceding two sentences
                       shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous Substances
                       that are generally recognized to be appropriate to normal residential uses and to maintenance of the Property
                       (including, but not limited to, hazardous substances in consumer products).
                             Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or
                       other action by any governmental or regulatory agency or private party involving the Property and any
                       Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any Environmental
                       Condition, including but not limited to, any spilling, leaking, discharge, release or threat of release of any
                       Hazardous Substance, and (c) any condition caused by the presence, use or release of a Hazardous Substance
                       which adversely affects the value of the Property. If Borrower learns, or is notified by any governmental or
                       regulatory authority, or any private party, that any removal or other remediation of any Hazardous Substance
                       affecting the Property is necessary, Borrower shall promptly take all necessary remedial actions in accordance
                       with Environmental Law. Nothing herein shall create any obligation on Lender for an Environmental Cleanup.

                             NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                             22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
                       Borrower’s breach of any covenant or agreement in this Security Instrument (but not prIor to
                       acceleration under SectIon 18 unless Applicable Law provides otherwise). The notice shall specify: (a)
                       the default; (b) the action required to cure the default; (C) a date, not less than 30 days from the date the
                       notice Is given to Borrower, by which the default must be cured; and (U) that failure to cure the default
                       on or before the date specified in the notice may result in acceleration of the sums secured by this
                       Security Instrument and sale of the Property. The notice shall further Inform Borrower of the right to
                       reinstate after acceleration and the right to bring a court action to assert the non-existence of a default
                       or any other defense of Borrower to acceleration and sale. lithe default is not cured on or before the
                       date specified in the notice, Lender at its option may require immediate payment in full of
                       all sums secured by this Security Instrument without further demand and may Invoke the power of sale
                       and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all expenses
                       Incurred In pursuing the remedies provided in this Section 22, Including, but not limited to, reasonable
                       attorneys’ tees and costs of title evidence.



                       q4A(CA) (0207)           CHC (08105)                 Page 130116                                Form 3005 1101




SAN DIEGO,CA                                                      Page 13 of 23                                Printed on 9/23/2011 2:52:39 PM
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                                                                                            DOC ID #: 00013670438706006
                         If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a written
                   notice of the occurrence of an event of default and of Lenders election to cause the Property to be sold.
                   Trustee shall cause this notice to be recorded in each county In which any part of the Property is
                   located. Lender or Trustee shall mail copies of the notice as prescribed by Applicable Law to Borrower
                   and to the other persons prescribed by Applicable Law. Trustee shall give public notice of sale to the
                   persons and in the manner prescribed by Applicable Law. After the time required by Applicable Law,
                   Trustee, without demand on Borrower, shall sell the Property at public auction to the highest bidder at
                   the time and place and under the terms designated in the notice of sale in one or more parcels and in
                   any order Trustee determines. Trustee may postpone sale at all or any parcel of the Property by public
                   announcement at the time and place of any previously scheduled sale. Lender or its designee may
                   purchase the Property at any sale.
                         Trustee shall deliver to the purchaser Trustee’s deed conveying the Property without any covenant
                   or warranty, expressed or implied. The recitals in the Trustee’s deed shall be prima fade evidence of the
                   truth of the statements made therein. Trustee shall apply the proceeds or the sale in the following order:
                   (a) to all expenses of the sale, including, but not Limited to, reasonable Trustee’s and attorneys’ fees; (b)
                   to all sums secured by this Security Instrument; and (c) any excess to the person or persons legally
                   entitled to it.
                         23. Reconveyance. Upon payment of all sums secured by this Security Instrument, Lender shall request
                   Trustee to reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt
                   secured by this Security Instrument to Trustee. Trustee shall reconvey the Property without warranty to the
                   person or persons legally entitled to it. Lender may charge such person or persons a reasonable fee for
                   reconveying the Property, but only if the fee is paid to a third party (such as the Trustee) for services rendered
                   and the charging of the fee is permitted under Applicable Law. If the fee charged does not exceed the fee set
                   by Applicable Law, the fee is conclusively presumed to be reasonable.
                         24. Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to any
                   Trustee appointed hereunder by an instrument executed and acknowledged by Lender and recorded in the
                   office of the Recorder of the county in which the Property is located. The instrument shall contain the name of
                   the original Lender, Trustee and Borrower, the book and page where this Security Instrument is recorded and
                   the name and address of the successor trustee. Without conveyance of the Property, the successor trustee shall
                   succeed to all the title, powers and duties conferred upon the Trustee herein and by Applicable Law. This
                   procedure for substitution of trustee shall govern to the exclusion of all other provisions for substitution.
                         25. Statement of Obligation Fee. Lender may collect a fee not to exceed the maximum amount
                   permitted by Applicable Law for furnishing the statement of obligation as provided by Section 2943 of the
                   Civil Code of California.




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                         BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
                    Security Instrument and in any Rider executed by Borrower and recorded with it.



                                                                                                              (Sea!)
                                                                                                            -Borrower



                                                                                            tal)
                                                            DAWN MSLKUS -GONZALES              -Borrower



                                                                                                              (Seal)
                                                                                                            -Borrower



                                                                                                              (Seal)
                                                                                                            -Borrower




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                                                                                                          sronuiiy icnown-to-ise
                     (or proved to me on the basis of satisfactory evidence) to be the person(s) whose name(s) is/are subscribed to
                     the within instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized
                     capacity(ies), and that by his/her/their signature(s) on the instrument the person(s) or the entity upon behalf of
                     which the person(s) acted, executed the instrument.

                     WITNESS my hand and official seal.




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                                                                                        Order No. S833858


                                                                                                   6763
                   PARCEL 1

                   LOT 33 OF COUNTY OF SAN DIEGO TRACT NO. 5037-3, ACCORDING TO MAP,
                   THEREOF NO, 14699, FILED IN THE OFFICE OF THE COUNTY RECORDER OF SAN DIEGO
                   COUNTY NOVEMBER 3, 2004.

                   PARCEL 2:

                   EASEMENTS AND RIGHTS FOR THE BENEFIT OF GRANTEE AS SET FORTH IN THE
                   DECLARATION OF COVENANTS, CONDITIONS AND RESTRICTIONS RECORDED
                   DECEMBER 12, 2001 AS INSTRUMENT NO. 2001-0912649,AND SUPPLEMENTARY
                   DECLARATION OF COVENANTS, CONDITIONS AND RESTRICTIONS RECORDED MARCH
                   29, 2005 AS INSTRUMENT NO. 2005-02521 22, BOTH OF OFFICIAL RECORDS.




                                                            2                                  )Rv. 11117/04)




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                                            ADJUSTABLE RATE RIDER
                                      (PayOpdon MTA Twelve Month Average Index      -   Payment Caps)

                                                             13379                         00013670438706006
                                                       CEscrow/Closing #]                      [Doc ID #]

                   THIS ADJUSTABLE RATE RIDER is made this TWENTY-THIRD                       day of
                   JUNE, 2006                 ,and is incorporated into and shall be deemed to amend and supplement
                   the Mortgage, Deed of Trust, or Security Deed (the Security lnstwment) of the same date given by
                   the undersigned (8orrower) to secure Borrower’s Adjustable Rate Note (the “Note) to
                   AMERICA’S WHOLESALE LENDER

                    (“Lenders) of the same date and covering the property described In the Security Instrument and
                    located at;
                                                        30945 CUVAISON
                                                      3ONSALL, CA 92003
                                                          [Property Addressl

                     THE NOTE CONTAINS PROVISIONS THAT WILL CHANGE THE INTEREST RATE AND THE
                     MONTHLY PAYMENT. THERE MAY BE A LIMIT ON THE AMOUNT THAT THE MONTHLY
                     PAYMENT CAN INCREASE OR DECREASE. THE PRINCIPAL AMOUNT TO REPAY COULD
                     BE GREATER THAN THE AMOUNT ORIGINALLY BORROWED, BUT NOT MORE THAN THE
                     MAXIMUM LIMIT STATED IN THE NOTE.

                          ADDITIONAL COVENANTS: In addition to the covenants and agreements made In the Security
                     Instrument, Borrower and Lender further covenant and agree as follows;

                      A, INTEREST RATE AND MONTHLY PAYMENT CHANGES
                         The Note provides for changes in the interest rate and the monthly payments, as follows:




                    • PayOption MTA ARM Rider
                    1E310-XX (09105)(d)                        Page 1 of 6




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                   2. INTEREST
                         (A) Interest Rate
                         Interest will be charged on unpaid Principal until the full amount of Principal has been paid. Up
                   until the first day of the calendar month that immediately precedes the first monthly payment due date
                   set forth in Section 3 of the Note, I will pay interest at a yearly rate of        7 875 %. Additional
                                                                                                           .

                   days interest collected prior to the first monthly payment due date is sometimes called “Per Diem’
                   interest and is due at the time I close my loan. Thereafter untIl the first Interest Rate Change Date,
                   defined below In Section 2(8), I will pay interest at a yearly rate of           1 750 %. This rate Is
                                                                                                       .

                   sometimes referred to as the “Start Rate” and Is used to calculate the initial monthly payment
                   described in Section 3. The interest rate requited by this Section 2 of the Note is the rate 1 will pay
                   both before and after any default described in Section 7(B) of the Note.

                        (B) Interest Rate Change Dates
                        The interest rate I will pay may change on the first                      day of
                   AUGUST, 2006                   ,  and on that day every month thereafter. Each date on which my
                   interest rate could change ts called an ‘Interest Rate Change Date.” The new rate of interest will
                   become effective on each Interest Rate Change Date. The interest rate may change monthly, but the
                   monthly payment Is recalculated in accordance with Section 3.

                        (C) Index
                        Beginning with the first lnterst Rate Change Date, my adjustable interest rate will be based on an
                   Index. The “Index” Is the ‘Twelve-Month Average’ of the annual yields on actIvely traded United
                   States Treasury Securities adjusted to a constant maturity of one year as published by the Federal
                   Reserve Board in the Federal Reserve Statistical Release entitled “Selected Interest Rates (H.15)”
                   (the “Monthly Yields’). The Twelve Month Average is determined by adding together the Monthly
                   Yields for the most recently available twelve months and dividing by 12. The most recent Index figure
                   available as of the date 15 days before each Interest Rate Change Date is called the “Current Index’.
                        If the Index is no longer available, the Note Holder will choose a new index that Is based upon
                   comparable information. The Note Holder will give me notice of this choice.

                         CD) Calculation of Interest Rate Changes
                         Before each Interest Rate Change Date, the Note Holder will calculate my new Interest rate by
                   adding                   THREE & 575/1000 percentage pointfs)f                  3 .575 %)(“Margin”)to
                   the Current Index. The Note Holder will then round the result of this addition to the nearest one-eighth
                   of one percentage point (0.125%). This rounded amount will be my new interest rate until the next
                   Interest Rate Change Date. My interest will never be greater than           9 950 %. Beginning with
                                                                                               .


                   the first Interest Rate Change Date, my interest rate will never be lower than the Margin.

                   3. PAYMENTS
                        (A) Time and Place of Payments
                        I will make a payment every month.


                   • PayOptlon MTA ARM Rider
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                         I will make my monthly payments on the FIRST                                    day of each month
                    beginning on August, 2006                           .I will make these payments every month until I have
                    paid all the PiincfpaL and interest and any other charges described below that I may owe under the
                    Note. Each monthly payment will be applied as of Its scheduled due date and will be applied to interest
                    before Principal. If, on JULY 01, 2036                        I still owe amounts underthe Note, I will pay
                                                                                  ,

                    those amounts in full on that date, which is called the “Maturity Date.”
                         I will make my monthly payments at
                    P.O. Box 10219, Van Nuys, CA 91410-0219

                    or at a different place if required by the Note Holder.

                         (B) Amount of My Initial Monthly Payments
                         Each of my initial monthly payments until the first Payment Change Date will be in the amount of
                    U.S. $ 3, 572 .43                                 unless adjusted under Section 3 (F).

                          (C) Payment Change Dates
                          My monthly payment may change as requited by Section 3(D) below beginning on the
                    first                     day of AUGUST, 2007                         and on that day every 12th
                    month thereafter. Each of these dates is called a “Payment Change Date.” My monthly payment also
                    will change at any time Section 3fF) or 3(G) below requires me to pay a different monthly payment.
                    The “Minimum Payment” Is the minimum amount Note Holder will accept for my monthly payment
                    which is determined at the last Payment Change Date or as provided In Section 3(F) or 3(G) below. If
                    the Minimum Payment is not sufficient to cover the amount of the Interest duo then negative
                    amortfzation will occur.
                          I will pay the amount of my new Minimum Payment each month beginning on each Payment
                    Change Date or as provided in Section 3fF) or 3(G) below.

                          (D) Calculation of Monthly Payment Changes
                          At least 30 days before each Payment Change Date, the Note Holder will calculate the amount of
                    the monthly payment that would be sufficient to repay the unpaid Principal that I am expected to owe
                    at the Payment Change Date in full on the maturity date in substantially equal payments at the interest
                    tate effective during the month preceding the Payment Change Date. The result of this calculation is
                    called the “Full Payment.” Unless Section 3fF) or 3(G) apply, the amount of my new monthly payment
                    effective on a Payment Change Date, will not Increase by more than               7 500% of my prior
                                                                                                         .


                    monthly payment. This        7 .500% limitation is called the “Payment Cop.” This Payment Cap
                    applies only to the Principal and interest payment and does not apply to any escrow payments Lender
                    may requite under the Security Instrument. The Note Holder will apply the Payment Cap by taking the
                    amount of my Minimum Payment due the month preceding the Payment Change Date and multiplying
                    It by the number        1 075 The result of this calculation is called the “Limited Payment.” Unless
                                              .       .


                    Section 3fF) or 3(G) below requires me to pay a different amount, my new Minimum Payment will be
                    the lesser of the Limited Payment and the Full Payment.


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                            (E) Additions to My Unpaid Principal
                            Since my monthly payment amount changes less frequently than the interest rate, and since the
                      monthly payment is subject to the payment limitations described In Section 3(D), my Minimum
                      Payment could be less than or greater than the amount of the interest portion of the monthly payment
                      that would be sufficient to repay the unpaid Principal I owe at the monthly payment date in full on the
                      Maturity Date In substantially equal payments. For each month that my monthly payment is less than
                      the interest portion, the Note Holder will subtract the amount of my monthly payment from the amount
                      of the Interest portion and will add the difference to my unpaid Principal, and interest will accrue on the
                      amount of this difference at the interest rate required by SectIon 2. For each month that the monthly
                      payment is greater than the interest portion, the Note Holder will apply the payment as provided in
                      Section 3(A).

                            (F) Limit on My Unpaid Principal; Increased Monthly Payment
                            My     unpaid    Principal   can    never    exceed     the    Maximum       Limit  equal    to
                                  ONE HUNDRED FIFTEEN percent(                      115 %) of the Principal amount I
                      originally borrowed. My unpaid Principal could exceed that Maximum Umit due to Minimum Payments
                      and interest rate increases. In that event, on the date that my paying my Minimum Payment would
                      cause me to exceed that limit. I will Instead pay a new Minimum Payment. This means that my
                      monthly payment may change more frequently than annualLy and such payment changes will not be
                      limited by the Payment Cap. The new Minimum Payment will be in an amount that would be sufficient
                      to repay my then unpaid Principal in full on the Maturity Date in substantially equal payments at the
                      current Interest rate.

                           (G) Required Full Payment
                           On the tenth                Payment Change Date and on each succeeding fifth Payment
                      Change Date thereafter, I will begin paying the Full Payment as my Minimum Payment until my
                      monthly payment changes again. I also will begin paying the Full Payment as my Minimum Payment
                      on the final Payment Change Date.

                           (H) Payment Options
                           After the first interest Rate Change Date, the Note Holder may provide me with up to three (3)
                      additional payment options that are greater than the Minimum Payment, which are called ?ayment
                      Options. The Payment Options are calculated using the new interest rate in accordance with Section
                      2(D). I may be given the following Payment Options:
                                     (I) Interest Only Payment: the amount that would pay the Interest portion of the monthly
                               payment. The Principal balance will not be decreased by this Payment Option and it is only
                               available If the Interest portion exceeds the Minimum Payment.
                                    (Ii) Amortized Payment: the amount necessary to pay the loan off (Principal and
                               interest) at the Maturity Date in substantially equal payments. This monthly payment amount
                               is calculated on the assumption that the current rate will remain in effect for the remaining
                               term.


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                                 (iii) 15 Year Amortized Payment: the amount necessary to pay the loan off (Principal
                            and interest) within a fifteen (15) year term from the first payment due date in substantially
                            equal payments. This monthly payment amount is calculated on the assumption that the
                            current rate wilt remain in effect (or the remaining term.

                         These Payment Options are only applicable If they are greater than the Minimum Payment.

                         B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER

                        Section 18 of the Security Instrument entitled “Transfer of the Property or a Beneficial Interest in
                    Borrower is amended to read as follows:

                          Transfer of the Property or a Beneficial Interest In Borrower. As used in This Section 18,
                    “Interest in the Property” means any legal or beneficial Interest in the Property, including, but not
                    ltmlted to, those beneficial interests transferred in a bond for deed, contract for deed, installment sates
                    contract or escrow agreement, the Intent of which is the transfer of title by Borrower at a future date to
                    a purchaser.
                         If all or any part of the Property or any Interest in the Property is sold or transferred (or If
                    Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without
                    Lender’s prior written consent, Lender may require immediate payment in full of all sums secured by
                    this Security Instrument. However, this option shall not be exercised by Lender if such exercise Is
                    prohibited by Applicable Law. Lender also shall not exercise this option if: (a) Borrower causes to be
                    submitted to Lender information required by Lender to evaluate the Intended transferee as if a new
                    loan were being made to the transferee; and fb) Lender reasonably determines that Lender’s security
                    will not be Impaired by the loan assumption and that the risk of a breach of any covenant or
                    agreement In this Security Instrument is acceptable to Lender.
                         To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
                    Lender’s consent to the loan assumption. Lender may also require the transferee to sign an
                    assumption agreement that is acceptable to Lender and that obligates the transferee to keep all the
                    promises and agreements made in the Note and in this Security Instrument. Borrower wilt continue to
                    be obligated under the Note and this Security Instrument unless Lender releases Borrower In writing.
                         It Lender exercises the option to require immediate payment in full, Lender shall give Borrower
                    notice of acceleration. The notice shall provide a period of not less than 30 days from the date the
                    notice is given in accordance with Section 15 within which Borrower must pay all sums secured by




                     PayOptlon MTA ARM Rider
                    1E310-XX (09105)                               Page 5 of 6




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                  this Security Instrument. If Borrower falls to pay these sums prior to the expiration of this period,
                  Lender may invoke any remedies permitted by this Security Instrument without further notice or
                  demand on Borrower.

                        BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
                   this Adjustable Rate Rider.

                   WITNESS THE HAND(S) AND



                                                                                                               -Borrower




                                     DAWN MEIKtJS-GONZALES                                                     -Borrower




                                                                                                               -Borrower




                                                                                                               -Borrower




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                    EXHIBIT B

                                                                      Exhibit B
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                            ThED MAIL 10’                                       Ernest]. Dronenburg, Jr.,
                                                                              SAN DtEGO COUNTY RECORDER
                                                                                        FEES:    $27.00
                Clear Recon Corp.
                                                                                                       PAGES: 4
                4375 Jutland Drive Suite 200
                San Diego, California 92117
                866-931-0036


                T.S. No.: 048253-CA
                APN: 126-490-07-00                                     SPACE ADO VETHIS LINE FOR RECORDER’S USE
                Property Address; 30945 CUVAISON,                      Title Order No.: 160271992-CA-VOl
                BONSALL, CA 92003

                                           NOTICE OF DEFAULT
                                      Pursuant to CA CiviL Code 2923.3
                   NOTE: THERE IS A SUMMARY OF THE INFORMATION IN THIS DOCUMENT
                                                AHACHED
                                               :
                                    iLAf:   MO1I      £4i LIC4
                NOTA: SE ADJUNTA UN RESUMEN DE LA INFORMACIÔN DE ESTE DOCUMENTO
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                WU ‘i’: KEM THEO AY LA BAN TRINH BAY ToM WQ’C yE THoNG TIN TRONG
                                           TAI UU NAY

                                              IMPORTANT NOTICE
               IF YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU ARE
               BEHIND IN YOUR PAYMENTS, IT MAY BE SOLD WITHOUT ANY
               COURT ACTION,
               and you may have legal right to bring your account in good standing by paying all of your
               past due payments plus permitted costs and expenses within the time permitted by taw for
               reinstatement of your account, which is normally five business days prior to the date set for
               the sale of your property. No sale date may be set until approximately 90 days from the
               date this notice of defauLt may be recorded (which date of recordafion appears on this
               notice).

               This amount is $646,252.47 as of 11/2812016, and will increase until your account becomes
               current. While your property is in foreclosure, you still must pay other obligations (such as
               insurance and taxes) required by yournotc and deed of trust or mortgage. if you fail to
               make future payments on the loan, pay taxes on the property, provide insurance on the
               property, or pay other obligations as required in the note and deed of trust or mortgage, the
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  Branch :WRC,User :3027                                 Comment:                                                 Station Id :LZI9




                Trustee Sale No.: 048253-CA Title Order No.: 160271992-CA-VOl


                beneficiary or mortgagee may insist that you do so in order to reinstate your account in
                good standing. In addition, the beneficiary or mortgagee may require as a condition of
                reinstatement that you provide reliable written evidence that you paid all senior liens,
                property taxes, and hazard insurance premiums.

                Upon your written request, the beneficiary or mortgagee will give you a written itemization
                of the entire amount you must pay. You may not have to pay the entire unpaid portion of
                your account, even though full payment was demanded, but you must pay all amounts hi
                default at the time payment is made. However, you and your beneficiary or mortgagee may
                mutually agree in writing prior to the time the notice of sale is posted (which may not be
                earlier than three months alter this notice of default is recorded) to, among other things. (1)
                provide additional time in which to cure the default by transfer of the property or
                otherwise; or (2) establish a schedule of payments in order to cure your default; or both (1)
                and (2).

                 Following the expiration of the time period referred to in the first paragraph of this notice,
                 unless the obligation being foreclosed upon or a separate written agreement between you
               • and your creditor permits a longer period, you have only the legal right to stop the sale of
                 your property by paying the entire amount demanded by your creditor To find out the
    V

                 amount you must pay, or to arrange for payment to stop the foreclosure, or if your
                 property is in foreclosure for any other reason, contact:

               THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS
               TRUSTEE (CWALT 2006-0A12)
               C/O Clear Recon Corp.
               4375 Jutland Drive Suite 200
               San Diego, California 92117
               Phone: 858-750-7600

               H you have any questions, you should contact a lawyer or the governmental agency which
               may have insured your loan. Notwithstanding the fact that your property is in foreclosure,
               you may offer your property for sale, provided the sale is concluded prior to the conclusion
               of the foreclosure. Remember, YOU MAY LOSE LEGAL RIGHTS IF YOU DO
               NOT TAKE PROMPT ACTION.

               NOTICE IS HEREBY GIVEN: CLEAR RECON CORP. is either the original trustee, the
               duly appointed substituted trustee or the designated agent of the holder of the beneficial
               interest under a deed of trust dated 6t23/2006, executed by LAR1O GONZALEZ, AND
               DAWN MELKUS-GONZALEZ, HUSBAND AND WIFE AS COMMUNITY PROPERTY
               WITH RIGHTS OF SURWVORSREP, as Trustor, to secure certain obligations in favor of
               the beneficiary thereunder, recorded 7/612006, as Instrument No. 2006-0476641, of Official
               Records in the Office of the Recorder of San Diego County, California, encumbering the
               land as fully described on said Deed of Trust


                                                          Page2of3
                                                                                            CRC NOD 09122014




SAN DIEGO.CA                                         Page 2 of 4                       Printed on 6/26)2017 11:30:00 AM
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                                                                                                                  Exhibit B
                                                                                                                  000027
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  Branch :WRC,User :3027                              Comment:                                                Station Id :LZI9




                Trustee Sale No.: 048253-CA Title Order No.: 160271992-CA-VOl


                That a breach of, and default in, the obligations for which such Deed of Trust is security
                has occurred in that payment has not been made of:

                Installment of Principal and Interest plus impounds and/or advances which became due on
                7/1/2009 plus late charges, and all subsequent installments of principal, interest, balloon
                payments, plus impounds and/or advances and late charges that become payable.

                That by reason thereof, THE BANK OF NEW YORK MELLON FKA THE BANK OF
                NEW YORK, AS TRUSTEE (CWALT 2006-0A12), the present beneficiary under such
                Deed of Trust has deposited with said trustee such Deed of Trust and all documents
                evidencing obligations secured thereby and has declared and does hereby declare all sums
                secured thereby immediately due and payable and has elected and does hereby elect to
                cause the trust property to be sold to satisfy the obligations secured thereby.


                                                    CLEAR RECON CORP.


                Date Executed:                     BY:_
                                                          Et’i         di*,.ri2     ,   *hIed Signor
                                                    CLEAR RECON CORP.
                                                    4375 Jutland Drive Suite 200
                                                    San Diego, California 92117




                                                        Page 3 of 3
                                                                                          cR.C NOD 09122014




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                                                                                                              Exhibit B
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  Branch :WRC,User :3027                                              Comment:                                                           Station Id :LZI9




                                                  Declaration of Mortgage Servicer Pursuant to
                                                             Civil Code §2923.55(c)

                   Borrower(s): l-IIIARIO gONZAlES, DAWN MEl.KUS-GONZALES
                   Mortgage Servicer: Bayview Loan Servicing, LLC
                   Property Address; 30945 CUVAISON BONSALI, CA 92003
                   Loan No.: 11.08218
                   T.S. No.:

                   The undersigned, as an authorized agent or employee of the mortgage servicer named below, declares that:

                         1.      The mortgage servicer has contacted the borrower pursuant to California Civil Code 2923.55(b) (2)
                               to “assess the borrower’s financial situation and explore options for the borrower to avoid foredosure.
                               Thirty (30) days, or more, have; passed since the IntUal contact was made.

                         2.   D The mortgage servicer has toed with
                                                                  due diiigence to contact the borrower(s) as required by California
                               Clvii Code 5 2923.55(f) (1) end 5 2923.55(f) t3)-(5). The telephone contact requirements under
                               2923.55ff) (2) were not attempted pursuant to the borrower’5 previously request for cease5
                               communication. No contact has been made despite such doe diligence. The due diligence efforts were
                               satisfied on   —




                         3.      Despite the exercise of due diligence pursuant to California Civil Code § 2923.55(f), the Mortgage
                               servicer has been unable to contact the borrower to “assess the borrower’s financial situation and
                               explore options for the borrower to avod foreclosure.” Thirty (30) days. or h,cre, have passed since
                               these due diligence efforts were satIsfied.

                         4.   Q No contact was required by the mortgage servicer because the Individual(s) did not meet the definition
                               of borrower” pursuant to subdivision (C) of Section 2920.5.

                         5.   Q The   requirements of Cal. dull Code 5 2923.55 do not apply because the loan Is not secured by a first
                               lien mortgage or first deed of trust that secures a loan, or that encumbers real property, described In
                               Civil Code 5 2924.15(a).

                                The requirements of Cal. Clvii Code § 2923.55 do not apply because:
                        6.
                                      a........_. The secured property is non-owner occupied.

                                      b._ The secured property is commercial or vacant land.

                                      c....   The secured property Is exempt from due diligence, the borrower Is deceased.

                  I certify that this declaration Is accurate, complete and supported by competent and reliable evidence which the
                  mortgage servicer has reviewed to substantiate the borrower’s default and the right to foreclose, Including the
                  borrower’s loan status end loan information.


                                                                              Bayvlew LoanJwicln CCC

                                                                                            —
                  Dated: 11/15/2015                                         By:
                                                                                    /7
                                                                                  GEGORY HARRISON
                                                                                  Siate Declaration Processor Loss Mitigation CIA
                                                                                                                            -




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                                                                                                                                         Exhibit B
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                    EXHIBIT C

                                                                      Exhibit C
                                                                      000030
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           I   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
               THE LAW OFFICES OF JOSEPH R. MANNING, JR.
           2   A PROFESSIONAL CORPORATION
               4667 MacArthur Blvd., Suite 150                                                ELECTRONICALLY FILED
                                                                                               Superior Court of California,
           3   Newport Beach, CA 92660                                                            County of San Diego
               (949) 200-8755 Phone
           4   (866) 843-8308 fax                                                               O7)6f2O17 at 01:04:05 PII
               info manning1awoffice. corn                                                      Clerk of the Superior Court
           5                                                                                   By Ivana Salas.Deputy Clerk
               Attorneys for Plaintiff HILARIO GONZALES
           6

           7

           8                                        SUPERIOR COURT Of CALIFORNIA

           9             IN AND FOR THE COUNTY OF SAN DIEGO- NORTH COUNTY REGIONAL CENTER
          10        HILARIO GONZALES,                              Case No.:     37.2Q17-0OD244-CU.QRNC

          11                      Plaintiff,                       COMPLAINT FOR DAMAGES AND EQUITABLE
                                                                   RELIEF:
          12        V.

                                                                    1. VIOLATIONS OF CAL. CIVIL CODE § 2923.55
          13        BAYVIEW LOAN SERVICING,
                    LLC, a business entity form unknown;            2. VIOLATiONS OF CAL. CIVIL CODE § 2923.6
          14        CLEAR RECON CORP., a business                   3. VIOLATiON OF CALIFORNIA BUSINESS &
                    entity form unknown, and DOES 1-                   PROFESSIONS CODE §17200
          15        100, inclusive,                                 4. NEGLIGENCE

          16                      Defendants

          17                                                       DEMAND FOR JURY TRIAL

          1$
          19

          20
          21                Plaintiff Hilario Gonzales, by his attorney, for causes of action against Defendants

          22   BAYVIEW LOAN SERVICING, LLC and CLEAR RECON CORP. and DOES 1-100 (hereinafter
               collectively referred to as “Defendants”), alleges the following on information and belief:

24                                                                      I.
-

     25                                                            PARTIES
z   C.)
          26   1.        Plaintiff Hilario Gonzales is an individual and resident of the State of California, County of San

      227                Diego. At all times relevant herein, Plaintiff owns and resides in the subject real property,
                         commonly known as 30945 Cuvaison, Bonsall, CA 92003 (the “Property”).



                                          COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF


                                                                                                                    Exhibit C
                                                                                                                    000031
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         1    2.   Defendant Bayview Loan Servicing, LLC (“Bayview”) is a business organization of unknown
         2         form doing business in the County of San Diego, State of California.
         3    3.   Defendant Clear Recon Corp. (“Clear Recon”) is a business organization of unknown form
         4         doing business in the County of San Diego, State of California.
         5    4.   The true names and capacities of Defendants named herein as DOES I through 100 are
         6         unknown to Plaintiff, who therefore sues these Defendants by such fictitious names. Plaintiff

         7         will amend the Complaint to show the true names and capacities of such DOES when they have

         $         been ascertained. Upon information and belief, Plaintiff alleges that each of DOES 1 through

         9         100 was responsible in some manner for the occurrences, acts, and transactions herein alleged,

        10         and that Plaintiffs damages and violations of Plaintiffs rights were proximately caused by such

        11         Defendants.

        12    5.   Upon information and belief, Plaintiff alleges that at all times mentioned Defendants were the

        13         agents, servants, representatives, partners and/or employees of co-Defendants, and, by engaging

        14         in the actions mentioned below, were, unless otherwise alleged, acting within the course and

        15         scope of their authority as such agent, servant, representative, partner, and/or employee, with the

        16         permission and consent of co-Defendants.

        17    6.   Any allegations about acts of any corporate or other business Defendants means that the

        18         corporation or other business did the alleged acts through its officers, directors, employees,

        19         agents, and/or representatives, while they were acting within the actual or ostensible scope of

        20         their authority.

        21
        22                                       JURISDICTION AND VENUE

        23    ,    This Court has subject-matter jurisdiction over the causes of action alleged in this Complaint

5       24         because this Court is a court of general subject-matter jurisdiction and is not otherwise excluded
                   from exercising subject-matter jurisdiction over said causes of action.
    25
zxc                   .                                    .                         .           .


              8.   This Court has subject-matter junsdiction over the causes of action alleged in this Complaint
        -‘J




    <   27
                   pursuant to California Code of Civil Procedure (“CCP”)     § 392 and 395 because the dispute




                                      COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                                  7

                                                                                                           Exhibit C
                                                                                                           000032
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                arises over real property, the Property, that is located in the County of San Diego, and because
       2        Plaintiffs injury and damages occurred in this jurisdictional area.
       3   9.   This Court has personal jurisdiction over the parties, pursuant to CCP      § 410.10. Plaintiff was, at
       4        all times relevant herein, a resident of the County of San Diego, State of California. Defendants
       5        have subjected themselves to this Court’s jurisdiction because of their contact with this County
       6        by virtue of encumbering and claiming an interest to the real property, the Property, located in

       7        this County, and because each Defendant resides in, is incorporated in, has its main place of

       8        business in and/or conducts business in the State of California, and a substantial portion of the

       9        acts, omissions, events, and transactions constituting the causes of action alleged herein

      10        occurred within the County of San Diego, State of California.

      11   10. This Court is the appropriate venue for this action under CC?       §   395 and 395.5 because the

      12        actions that give rise to the causes of action alleged in this Complaint occurred in this County,

      13        and the Property is located in this County. Plaintiff hereby designates the County of San Diego

      14        as the place of proper venue.

      15

      16                                        DEMAND FOR JURY TRIAL

      17        Plaintiff hereby respectfl.illy requests a trial by jury on all appropriate issues raised in this

      18        Complaint.

      19
      20                           CALIFORNIA HOMEOWNER’S BILL OF RIGHTS

      21   12. In response to mortgage servicer improprieties and the growing number of foreclosures, 49 state

      22        attorneys general served suit against the country’s five major mortgage servicers. As a

      23        consequence, these mortgage servicers agreed to enter into consent judgments known as the
iJ    24        National Mortgage Settlement (“NMS”). The NMS imposed new servicing standards on these

     .25        servicers. Thereafter, the California Legislature passed the Homeowner’s Bill of Rights
                (“HBOR”) to give borrowers a private right of action to enforce these protections in court and to
      26
                apply these requirements to all mortgage servicers, not just the five NMS signatories.
      27
     Z2$



                                 COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                     3

                                                                                                             Exhibit C
                                                                                                             000033
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      1   13. The HBOR is codified in Civil Code      §S 2920.5, 2923.4, 2923.5, 2923.55, 2923.6, 2923.7, 2924,
      2        2924.9, 2924.10, 2924.11,2924.12,2924.17,2924.18 and 2924.19.
      3   i.   The purpose of the HBOR is to ensure that, as part of the non-judicial foreclosure process,
      4        borrowers are not only considered for, but have a meaningful opportunity to obtain, any
      5        available loss mitigation options offered by or through the borrower’s mortgage servicer, such
      6        as loan modifications or other alternatives to foreclosure. Cal. Civ. Code    § 2923.4(a).
      7   is. Provisions of the HBOR apply only to mortgages or deeds of trust that are secured by owner-
      8        occupied residential real property containing no more than four (4) dwelling units. For these

      9        purposes, “owner-occupied” means that the property is the principal residence of the borrower

     10        and is security for a loan made for personal, family, or household purposes. Cal. Civ.

     11        Code2924.15.

     12   16. As applied herein, “borrower” means any natural person who is a mortgagor or trustor          and who

     13        is potentially eligible for any federal, state, or proprietary foreclosure prevention alternative

     14        program offered by, or through his or her mortgage servicer. Cal. Civ. Code      § 2920.5(c)(1).
     J5   17. As applied herein, “foreclosure prevention alternative” means a first lien loan modification or

     16        other available loss mitigation option. Cal. Civ. Code   § 2920.5(b).
     j7   18. The HBOR protects a homeowner who has become a victim of a foreclosure that is being

     18        wrongfully advanced. If a trustee’s deed upon sale has not been recorded, a borrower may bring

     19        an action for injunctive relief to enjoin a material violation of Section 2923.55, 2923.6, 2923.7,

     20        2924.9, 2924.10, 2924.11, or 2924.17. Cal. Civ. Code     § 2924.12(a)(l). The rights, remedies, and
     21        procedures provided by [Civil Code Section 2924J are in addition to and independent of any

     22        other rights, remedies, or procedures under any other law. Cal. Civ. Code     § 2924.12(h).
.    23
                                               FACTUAL BACKGROUND

                                        Origination of the Loan and the Property
    25
Zu

     26   19, In 2006, Plaintiff entered into a written loan agreement and obtained a mortgage loan, in the

     27        amount of $1,000,000.00 (the “Loan”), secured by the Subject Property through a Deed of Trust
     28        (recorded July 6, 2006), then and now the principal residence of Plaintiff.


                                COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                               4

                                                                                                            Exhibit C
                                                                                                            000034
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                20,   The Property contains no more than four dwelling units and is owner-occupied. The Property is,
            2
                      and was at all times relevant herein, Plaintiffs principal residence and is security for the Loan,
            3
                      which was made for personal, family, or household purposes. At all relevant times, Plaintiff is a
            4
                      “borrower” as defined by Civil Code § 2920.5(c).
            5
                          Plaintiffs Financial Hardship and Pursuit of Foreclosure Prevention Alternatives
            6
                21.   Plaintiff performed dtttifully under the Loan, as required, until the household income was
            7
                      significantly reduced by a decline in companies that are now dissolved and no longer active. In
            8
                      addition, Plaintiffs wife was diagnosed with Cancer and passed around on July 24, 2016. Due to
            9
                      the decline in income and increase in medical bills, it became difficult for Plaintiff to remain
           10
                      current on the payments.
           11
                22.   Earnestly wishing to avoid foreclosure and to keep the home, Plaintiff contacted Bayview and
           12
                      requested assistance on his mortgage. As instructed, Plaintiff submitted a financial package to
           13
                      Bayview in order to be reviewed for a Joan modification.
           J4
                23.   However on November 30, 2016, while Plaintiff was in review for a loan modification,
                                                         ,


           15
                      Defendants recorded a Notice of Default and Election to Sell Under Deed of Trust (the “Notice
           16
                      of Default”) against the Subject Property, A true and correct copy of the Notice of Default is
           17
                      attached hereto as Exhibit A.
           18
                24.   The NOD contains a false Declaration of Mortgage Servicer Pursuant to Civil Code
           19
                      §2923.55(b)(2) (“Declaration”), whereby an authorized agent or employee of the mortgage
           20
                      servicer, Bayview, declared that it contacted the borrower pursuant to California CiviJ Code
           21
                      §2923.55(b)(2) to “assess the borrower’s financial situation and explore options for the
           22
                      borrower to avoid foreclosure. Thirty (30) days or more have passed since the initial contact was
 .‘        23
                      made.” The Declaration is dated November 16, 2016”. (Exhibit A, p. 4). The Declaration is
      r’   24
                      signed by representative Gregory Harrison- State Declaration Processor Loss Mitigation, whom
25
      5               Plaintiff has had no contact with and who certifies the declaration to be accurate, complete and
                      supported by competent and reliable.
      2 27
                25.   This was clearly a false declaration as Plaintiff was in review for a loan modification during the
-‘

                      time the Notice of Default Declaration was issued.


                                      COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                                     5

                                                                                                               Exhibit C
                                                                                                               000035
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  1   26.   Defendant, Bayview, did not contact Plaintiffs, as required by the statute. Plaintiffs were, at all
  2         relevant times, “borrowers” as defined by Civil Code    § 2920.5.
  3   27.   At no point at least 30 days prior to recording the Notice of Default did Bayview contact
  4         Plaintiffs, within the meaning of this term and the statutory requirements, in person or by phone
  5         in order to assess their financial situation and explore options for them to avoid foreclosure.
  6   28. At no point at least 30 days prior to recording the Notice of Default,   and during the initial
  7         contact, did Bayview advise Plaintiffs of their right to request a subsequent meeting, which, if

  8         requested, would be scheduled within 14 days.

  9   29. At no point at least 30 days prior to recording the Notice of Default, and during such initial

 10         contact or a subsequent meeting, did Bayview provide Plaintiffs with the toll-free telephone

 11         number made available by the United States Department of Housing and Urban Development

 12         (“HUD”) to find a HUD-certifled housing counseling agency.

 13   30. Plaintiff continued to follow up with Bayview to check status of the loan modification in which

 14         Plaintiff would be advised that he was in review and no decision has been made.

 15   31. However, on or around March 8,2017, while Plaintiff was clearly still in review for a loan

 16         modification, Defendants recorded a Notice of Trustee Sale (the “NTS”) against the Subject

 17         Property. A true and correct copy of the NTS is attached hereto as Exhibit B.

 18   32. Thereafter, on or around June 2017, Plaintiff had an increase in his household gross income and

 19         resubmitted an updated complete financial package to Bayview via fax.

 20         However, Bayview has not provided a response as to the loan modification review and a sale

 21         date is scheduled for July 17, 2017 which is a clear violation of California Civil Code section

 22         2923.6.
      34, As a result, Plaintiff felt helpless and desperate, and needed assistance to obtain some sort of
 23
 24         mortgage assistance from Defendants, as Defendants have violated and continues to violate the

 25         Homeowner’s Bill of Rights, by failing to fairly evaluate Plaintiffs application for a loan
            modification and ignoring Plaintiffs submission and proceeding with foreclosure.
 26
      35. At this time, Plaintiff is in possession of the Property and no sale has occurred; however, a
27
            Trustee’s Sale is scheduled for July 17, 2017. As a result, the instant action became necessary.
 28



                            COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                6

                                                                                                     Exhibit C
                                                                                                     000036
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     36.   Plaintiff has been unable to cure the default because of the substantial arrearages, which include
 2
           unnecessary fees added to the Loan balance.
 3
     37,   The foregoing acts and material omissions of the Defendants alleged herein were undertaken
 4
           willfully, persistently, intentionally, knowingly, and/or in gross or reckless disregard of
 5
           Plaintiffs notice and disclosure rights.
 6
     38,   Defendants, as employers of the authorized representatives who had contact with Plaintiff, had
 7
           advanced knowledge of the unfitness of the employee representatives and employed such
 8
           representatives with a conscious disregard of the rights or safety of others, or authorized/ratified
 9
           the wrongful conduct for which the damages are awarded or was personally guilty of
10
           oppression, fraud, or malice.
11
     39.   Plaintiff has been harmed by Defendants’ failure to provide accurate material disclosures and
12
           notice such that Plaintiff can cure the default and extinguish the transaction by operation of law.
13
     40.   Defendants are acting in concert to deprive Plaintiff of his civil rights by attempting to take the
14
           Property without due process of law.
15
     41.   Plaintiff was at all relevant times willing and able to enter into a loss mitigation program that is
16
           affordable for Plaintiff and more profitable to Defendants than a foreclosure, and Plaintiff is
17
           ready, willing and able to make such payments at the times required of them by law.
18

19                                                        VE
20                                         FIRST CAUSE OF ACTION
21                               VIOLATIONS OF CAL. CIVIL CODE 2923.55                         -




22                                         (AS TO ALL DEFENDANTS)
23   42.   Plaintiff re-alleges and incorporates by reference all paragraphs above, as though fully set forth
24         in this cause of action.

25   43.   A mortgage servicer, mortgagee, trustee, beneficiary, or authorized agent cannot record a notice

26         of default until 30 days after: (i) the mortgage servicer makes “initial contact” with the

27         borrower, as required by Civil Code    § 2923.55(b)(2), or (ii) the mortgage servicer satisfies the
28         “due diligence” requirements of Civil Code    § 2923.55(f) if unable to contact the borrower.


                            COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                7

                                                                                                     Exhibit C
                                                                                                     000037
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     1   44.   The notice of default must include a declaration that the mortgage servicer contacted the
     2         borrower as required by the statute or, in the alternative, attempted such contact with due
     3         diligence, or that contact was not required because the individual did not meet Civil Code      §
     4         2920.5’s definition of “borrower.”
     5   4s.   Defendants recorded the Notice of Default with a false declaration of compliance with Civil

     6         Code   § 2923.55. The Declaration attached to the Notice of Default avers that Bayview
     7         contacted Plaintiff as required by Civil Code   § 2923.55 “tried with due diligence but was unable
     8         to discuss the borrowers’ financial situation and explore options for the borrower to avoid

     9         foreclosure. Thirty (30) days or more have passed since the initial contact was made.” The

    10         Declaration is dated November 16, 2016”. (Exhibit A, p. 4). The Declaration is signed by

    11         representative Gregory Harrison- State Declaration, Processor Loss Mitigation, whom Plaintiff

    12         has had no contact with and who certifies the declaration to be accurate, complete and supported

    13         by competent and reliable.

    14   46. Defendant, Bayview, did not contact Plaintiffs, as required by the statute. Plaintiffs were, at all

    15         relevant times, “borrowers” as defined by Civil Code    § 2920.5. At no point at least 30 days
    16         prior to recording the Notice of Default did Bayview contact Plaintiffs, within the meaning of

    17         this term and the statutory requirements, in person or by phone in order to assess their financial

    18         situation and explore options for them to avoid foreclosure.

    19   47.   At no point at least 30 days prior to recording the Notice of Default, and during the initial

    20         contact, did Bayview advise Plaintiffs of their right to request a subsequent meeting, which, if

    21         requested, would be scheduled within 14 days.

    22   48.   At no point at least 30 days prior to recording the Notice of Default, and during such initial

    23         contact or a subsequent meeting, did Bayview provide Plaintiffs with the toll-free telephone

5   24         number made available by the United States Department of Housing and Urban Development
               (“HUD”) to find a HUD-certified housing counseling agency.
    25
         49. The Notice of Default was recorded before Bayview contacted, or diligently attempted to
    26
               contact, Plaintiff to discuss alternatives to foreclosure as contemplated by the statute. HBOR
    27
               was enacted to combat the foreclosure crisis and hold lenders accountable for exacerbating it.



                               COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                               8

                                                                                                        Exhibit C
                                                                                                        000038
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 1         Defendants’ failure to comply with the statute’s pre-NOD outreach procedures undermines the
 2         intent of the statute and serves to perpetuate the servicer misconduct and foreclosure abuses
 3         specifically targeted by the H3OR legislation.
 4   so. In addition, noncompliance with the statute renders the Notice of Default invalid and void as a
 5         matter of law. A trustee’s sale caimot proceed unless and until Defendants record a notice of
 6         default that contains a declaration that is accurate and supported by competent and reliable

 7         evidence. If the declaration is false, then the notice of default itself is false, since the

 $         declaration must be attached to the notice. Moreover, the Notice of Default is invalid, since

 9         contact, or diligent effort to contact, is a statutory prerequisite to filing the Notice of Default.

10   51.   As a result of Defendants’ wrongful acts and omissions, Plaintiff has incurred costs associated
           with the improper foreclosure action in that Plaintiff has been precluded the procedural

12         protections afforded borrowers by the statute and now face the imminent foreclosure of the

13         Subject Property. Plaintiff has sought, and continues to seek, an assessment of their financial

14         situation and consideration for foreclosure alternatives offered by, or through, Bayview, as

15         contemplated by the provisions of HBOR.

16   52,   Pursuant to Civil Code     § 2924.12 and 2924g, Plaintiff seek an order enjoining Defendants
17         from proceeding with foreclosure unless and until Defendants have corrected and remedied their

18         material violations of Civil Code   §   2923.55.

19                                                            YL
20                                         SECOND CAUSE OF ACTION

21                               VIOLATIONS OF CAL. CIVIL CODE 2923.6

22                                          (AS TO ALL DEFENDANTS)

23   53. Plaintiff re-alleges and incorporates by reference all paragraphs above, as though fully set forth

24         in this cause of action.

25   54.   Pursuant to Civil Code     § 2924.15, Civil Code § 2923.6 applies only to mortgages or deeds of
           trust that are secured by owner-occupied residential real property containing no more than four
26
           (4) dwelling units. For these purposes, “owner-occupied” means that the property is the
27
           principal residence of the borrower as indicated in loan documents. Here, the Property contains
28



                            COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                9

                                                                                                          Exhibit C
                                                                                                          000039
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          no more than four (4) dwelling units, and the Property is Plaintiffs principal residence, as
  2       indicated in Plaintiffs loan documents. Therefore, Plaintiff may bring this action for possession
  3      under Civil Code   § 2923.6.
  4   55. California Civil Code §2923.6(c) dictates that once a borrower submits a complete application

  5      for a first lien loan modification offered by, or through, the borrower’s mortgage servicer, the
  6       servicer SHALL NOT RECORD a Notice of Default or Notice of Sale, OR CONDUCT a

  7      trustee’s sale, while the application is pending, and until any of the following occurs:

  8          a. The mortgage servicer makes a written determination that the borrower is not eligible for

  9              a foreclosure prevention alternative and any appeal period has expired;

 10          b. The borrower does not accept an offered foreclosure prevention alternative within

 11              fourteen (14) days of the offer; or

 12          c. The borrower accepts a written foreclosure prevention alternative, but defaults on the

 13              loan modification or otherwise breaches his/her obligations under the foreclosure

 14              prevention alternative.

 15   56. In this case, in or around November 2016 and March 2017, Defendants executed and recorded

 16      the Notice of Default and Notice of Trustee Sale, while he was clearly in review for a loan

 17      modification, against the subject property. (Exhibit A and B).

 18   57. Pursuant to Civil Code §2923.6(g), the mortgage servicer shall not be obligated to evaluate

 19      applications from borrowers who have already been evaluated or afforded a fair opportunity to

20       be evaluated, unless there has been a material change in the borrower’s financial circumstances

21       since the date of the borrower’s previous application and that change is documented by the

22       borrower and submitted to the mortgage servicer.

23    58. As alleged herein, Plaintiff has not been fairly evaluated for a loan modification and there has

24       been a material change in Plaintiffs financial circumstances, which change Plaintiff

25       documented and submitted to BAYVIEW. Accordingly, Plaintiff provided documentation
         evidencing the material change in the financial circumstances by providing his financial
26
         documents, but not limited to his current bank statements and a hardship letter, via fax to
27
         BAYVIEW as instructed in or around June 2017 which demonstrated an increase in his
28



                          COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                        10

                                                                                                  Exhibit C
                                                                                                  000040
    Case 3:19-cv-00050-BAS-AGS Document 5-5 Filed 03/21/19 PageID.111 Page 42 of 59


     1         household income.
     2   59.   However, before providing Plaintiff with a written decision, Defendants are proceeding with a
     3         sale date for July 17, 2017. This is a clear violation of Civil Code    § 29216(g).
     4   60. Pursuant to Civil Code §2923.6(g), Bayview is obligated to evaluate Plaintiffs application for

     5         any and all foreclosure prevention alternatives, including, but not limited to, a loan
     6         modification, and Defendants must cease all foreclosure activity on the Property.

     7   61. Moreover, pursuant to Civil Code       § 2923.6(f), following the denial of a first lien loan
     8         modification application, the mortgage servicer shall send a written notice to the borrower

     9         identifying the reasons for denial, including the following: (1) the amount of time from the date

    10         of the denial letter in which the borrower may request an appeal of the denial of the first lien

    ii         loan modification and instructions regarding how to appeal the denial; (2) if the denial was

    12         based on investor disallowance, the specific reasons for the investor disallowance; (3) if the

    13         denial is the result of a net present value calculation, the monthly gross income and property

    14         value used to calculate the net present value and a statement that the borrower may obtain all of

    15         the inputs used in the net present value calculation upon written request to the mortgage

    16         servicer; (4) if applicable, a finding that the borrower was previously offered a first lien loan

    17         modification and failed to successfully make payments under the terms of the modified loan;

    18         and (5) if applicable, a description of other foreclosure prevention alternatives for which the

    19         borrower maybe eligible, and a list of the steps the borrower must take in order to be considered

    20         for those options. If the mortgage servicer has already approved the borrower for another

    21         foreclosure prevention alternative, information necessary to complete the foreclosure prevention

    22         alternative.

    23   62. Furthermore, pursuant to Civil Code      § 2923.6(e), if the borrower’s application for a first lien
    24         loan modification is denied, the mortgage servicer or trustee SHALL NOT RECORD a notice
4              of default or, if a notice of default has already been recorded, record a notice of sale OR
               CONDUCT a trustee’s sale until the later of: (1) Thirty-one days afier the borrower is notified
    26
               in writing of the denial. (2) If the borrower appeals the denial pursuant to subdivision (d), the
    27
               later of 15 days after the denial of the appeal or 14 days after a first lien loan modification is
    28



                                COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                               11

                                                                                                             Exhibit C
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      I      offered after appeal but declined by the borrower, or, if a first lien loan modification is offered
      2       and accepted after appeal, the date on which the borrower fails to timely submit the first
      3      payment or otherwise breaches the terms of the offer.
      4   63. Therefore, Plaintiff was deprived of the statutory rights and protections under the HBOR,
      5      without first providing Plaintiff a written denial as well as the opportunity to appeal the denial
      6      and wait the statutorily mandated time before proceeding with foreclosure, in blatant violations

      7      of Civil Code    § 2923.6(e) and (1).
      8   64. The intent of the California Legislature in enacting the HBOR was to address the consequences

      9      of the subprime mortgage crisis leading to declining real property values and historic levels of

     10      foreclosure. Given the vast and devastating impact of the crisis, the objective of the HBOR was

     11      to make sure lenders, loan servicers, and their agents were communicating and working with

     12      borrowers in default to assess the borrowers’ financial situation and discuss foreclosui-e

     13      alternatives before a foreclosure is initiated by recording a notice of default. The intent of the

     14      legislature is clear and the requirements that it has imposed are by no means arbitrary.

     15   65. Defendants’ numerous and repeated failures to comply with Civil Code §2923.6 directly

     16      undermines the intent of the statute. Defendants’ failure to adhere to the statute renders the

     17      HBOR essentially meaningless and, if the statue is not enforced, it will serve to perpetuate a

     18      cycle that results in far too many homeowners being rendered helpless. As a result, Defendants

     19      are liable to Plaintiff for any and all statutory andJor actual damages which have resulted from

    20       their conduct.

    21    66. Plaintiff has incurred costs associated with the foreclosure action since its commencement      and

    22       has sought an assessment of his financial situation and consideration for a first lien loan

    23       modification and any other foreclosure prevention programs offered by and through the

4   24       mortgage servicer pursuant to the provisions of the HBOR.
          67. As a result of the above-described wrongful acts and omissions, Plaintiff has been precluded
    25
    26       from the rights granted to them by Civil Code    § 2923.6.
          68. As a result of Defendants’ wrongful acts and omissions, Defendants are liable to Plaintiff for
    27
             any and all statutory and/or actual damages which have resulted from their conduct. If
    28



                               COMPLAINT FOR DAMAGES AND EQUITABLE RELiEF
                                                  12

                                                                                                        Exhibit C
                                                                                                        000042
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 I         Defendants fail to correct their violations, Plaintiff is entitled to actual damages, attorneys’ fees,
 2         and treble damages for Defendants’ material and uncorrected violations of Civil Code        § 2923.6.
 3                                                       VIII.
 4                                          THIRD CAUSE OF ACTION
 5                   VIOLATIONS OF BUSINESS AND PROFESSIONS CODE 172OO

 6                                          (AS TO ALL DEFENDANTS)
 7   69.   Plaintiff re-alleges and incorporates by reference all paragraphs above, as though fully set forth

 8         in this cause of action.

 9   70.   Plaintiffs bring this action against Defendants pursuant to California Business and Professions

10         Code   § 17200,   et seq., referred to as the Unfair Competition Law (the “U CL”).

11   71.   California Business and Professions Code     § 17200 prohibits “any unlawful, unfair or fraudulent
12         business act or practice.” for the reasons described herein, Defendants have engaged in unfair

13         or fraudulent business acts or practices in violation of Bus. and Prof Code §17200, et. seq.

14   72.   The Court has jurisdiction over this action pursuant to California Bus. and Prof. Code     § 17200,
15         ci seq., specifically Bus. and Prof. Code   § 17203, which provides that any person who engages,
16         has engaged, or proposes to engage in unfair competition may be enjoined in any court of

17         competent jurisdiction; and the court may make such orders or judgments, including the

18         appointment of a receiver, as may be necessary to prevent the use or employment by any person

19         of any practice which constitutes unfair competition, or as may be necessary to restore to any

20         person in interest any money or property, real or personal, which may have been acquired by

21         means of such unfair competition; and Bus. and Prof. Code      § 17204, which provides for actions
22         for any relief pursuant to the Unfair Competition Law (“UCL”) to be prosecuted exclusively in a

23         court of competent jurisdiction by any board, officer, person, corporation or association, or by

24         any person acting for the interests of itse1f its members or the general public.

75   73.   As alleged herein, Defendants engaged in deceptive business practices in connection with

76         servicing Plaintiffs mortgage loan, processing Plaintiffs requests for an alternative to
           foreclosure, initiating and proceeding with foreclosure of the Property, and related matters. The
27
           unfair business practices committed by Defendants include, but are not limited to, the following:
28



                             COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                13

                                                                                                      Exhibit C
                                                                                                      000043
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                a. failing to implement and follow the requirements of the 2013 California Homeowner’s Bill
     2               of Rights;
     3          b. Engaging in a pattern and practice of misrepresenting to borrowers, including Plaintiff, the
     4               likelihood of qualifying for a loan modification or other work out option, and inducing
     5               borrowers to continue with the modification review process while knowing that no such

     6               pennanent modification would be forthcoming despite assurances otherwise;

     7          c. Recording the Notice of Default (Exh. A) with a false and defective Declaration of

     8               Compliance that would have this Court believe that BAYVIEW complied with the

     9               provisions of Civil Code      §   2923.55, prior to recording the Notice of Default on the

    10               Property, when, in fact, there was no such compliance;

    11          d. Recording the Notice of Default (Exh. A) without sufficiently contacting Plaintiff or

    12               attempting with due diligence to contact Plaintiff in order to assess the financial situation

    13               and explore options to avoid foreclosure, in violation of Civil Code §2923.55;

    14          e. Violating Civil Code    § 2923 .6(c) and (g), by failing to fairly evaluate Plaintiffs application,
    15               or afford Plaintiff a fair opportunity to be evaluated, even after there has been a material

    16               change in Plaintiffs financial circumstances, which was documented and submitted to the

    17               mortgage servicer, Defendant BAYVIEW;

    1g          f.   Engaging in negligent conduct in assessing Plaintiffs loan for foreclosure prevention

    19               alternatives, including a loan modification;

    20          g. Making misrepresentations and false promises designed to deceive Plaintiff into thinking

    21               that they were safe from foreclosure and would be receiving a loan modification when

    22               Defendants knew or should have known that was not true;

    23         h. Instituting improper or premature foreclosure proceedings to generate unwarranted fees and

    24               concealing the true character, quality, and nature of their assessment of marked-up fees

c                    against Plaintiffs account;

    26          i.   Misrepresenting the foreclosure status to Plaintiff regarding the property; and

    27         j. Attempting to Foreclose on the Property without the legal authority or just cause to do so.
    ,    74.   Defendants’ omissions of material facts, as hereinabove alleged, constitute “unlawful” practice



                                  COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                                14

                                                                                                          Exhibit C
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                because they violate Title 18 United States Code     § 1341, 1343, and 1962, California Civil Code
      2         § 1572,    1573, 1709, 1710,and 1711,andthecommonlaw.
      3   75.   Defendants’ acts and practices, as hereinabove alleged, constitute “unfair” business acts under
      4         Bus. and Prof Code § 17200, et seq., in that said acts and practices offend public policy and are
      5         substantially injurious to Plaintiff and all consumers. Said acts and practices have no utility
      6         whatsoever, much less sufficient utility to outweigh the substantial harm to Plaintiff other
      7         consumers, and potential homeowners.

      8   6.    These violations were and remain to be a matter of Defendants’ standard corporate policy, and

      9         constitute a consistent pattern and practice of unlawful corporate behavior. Defendants’ actions

     10         are against public policy, as the legislature enacted the HBOR as an emergency act to slow the

     11         foreclosure process so that borrowers have a meaningful opportunity to avoid foreclosure.

     12   77.   Defendants knew, or by the exercise of reasonable care, should have known, that the statements

     13         and misrepresentatives made by their representatives as alleged herein were violations of public

     14         policy, Civil Code §sS 2923.6, 2924.10, and other common law.

     15   78.   Defendants’ acts and practices, as hereinabove alleged, constitute “fraudulent” business acts

     16         under   § 17200 in that said acts and practices are likely to deceive the public and effect
     17         consumers’ legal rights and obligations. Defendants’ acts, including, but not limited to, active

     18         deception, falsifying and/or failing to deliver material documents, and concealment of

     19         infonnation, serve to prevent consumers from exercising rights to which they are entitled.

    20    79.   Moreover, in the course and conduct of their loan servicing and collection, Defendants omitted a

    21          true itemization that identifies the nature of each fee, and it failed to disclose the nature of the

    22          charges and fees assessed, Defendants concealed the fact that the category identified as

     23         “Miscellaneous fees” or “Other Charges” reflects marked-up and/or unnecessary fees that were

5   24          never incurred by Defendants. Relying on Defendants, Plaintiff and members of the general
                public believe they are obligated to pay the amounts specified in Defendants’ communications
    25
    26          for default-related services.
          o.    Plaintiff relied on the reasonable expectation that Defendants complied with the plain meaning
    27
                of the mortgage agreement, Notes, $ecunty Instruments, court orders, and confirmed plans, and
    22



                                  COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                                15

                                                                                                              Exhibit C
                                                                                                              000045
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         I       as a result, Plaintiff relied on Defendants’ disclosures about the fees on his statements,
         2       reasonably believing the “Other Charges,” “Other fees” or “Miscellaneous fees” to be valid
         3       charges that were not unlawfully marked-up and/or unnecessary. Indeed, to trick borrowers into
         4       a sense of trust and to dissuade them from challenging Defendants’ unlawful fee assessments,
         5       Defendants conceal their scheme by telling borrowers, in statements and other documents, that
         6       such fees are “allowed by borrowers’ Note and Security Instrument,” or that they are “in

         7       accordance with the terms of your mortgage.” Had the true nature of the fees been disclosed to

         8       Plaintiff, they would have been aware of the mark-ups and unnecessary nature of the fees, and

         9      Plaintiff would have disputed the charges, not paid them.

        10   81. As a direct and proximate result of Defendants’ unlawful, unfair, and fraudulent conduct alleged

        ii      herein, Plaintiff has lost equity in the Property. Defendants’ charging of marked up and excess

        12      fees has resulted in damage to Plaintiffs tangible interest in the Property. This loss of equity,

        13      which should be credited back to Plaintiff constitutes a loss of money.

        14   82. As a direct and proximate result of Defendants’ unlawful, unfair and fraudulent conduct,

        15      Defendants wrongfully foreclosed on the Property causing Plaintiff to lose title to, and interest

        16      in, the Property and the imminent eviction of Plaintiff and her family from her home. Such

        17      eviction will cause Plaintiff to suffer further immediate and irreparable injury, loss and damage.

        18      Further, Defendants’ wrongful foreclosure of the Property caused Plaintiff to lose her equity in

        19      the home. This loss of equity, which should be credited back to Plaintiff, constitutes a loss of

        20      money.

•       21   83. Due to Defendants’ unlawful, unfair, and fraudulent business practices, Plaintiff has suffered a

        22      substantial ascertainable loss and, therefore, pursuant to Business and Professions Code         § 17203
•       23      and § 17204, Defendants should be enjoined from continuing such practices.
             84. Defendants’ unfair and deceptive business acts or practices have caused a direct and proximate
        24

        25      injury to Plaintiff and the general public. Plaintiff is entitled to relief, including full restitution

        26      and/or disgorgement of all revenues, earnings, profits, compensation, and benefits which may
                have been obtained by Defendants as a result of such business acts or practices.
        27
    3
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                                 COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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                                                                                                              Exhibit C
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          1   85. In addition to the relief requested in the Prayer below, Plaintiff seeks the imposition of a

          2       constructive trust over, and restitution of the monies collected and realized by Defendants.


          4                                      FOURTH CAUSE OF ACTION

          5                                                 NEGLIGENCE

          6                                             (AS TO BAYVIEW)

              86. Plaintiff re-alleges and incorporates by reference all paragraphs above, as though fully set forth
          8
                 in this cause of action.
              87. BAYVIEW, acting as Plaintiffs lender, servicer and beneficiary, undertook a review of
         10
                 Plaintiffs Loan for modification and having done so it owed Plaintiff the duty to exercise
         11
                 reasonable care in processing and reviewing their applications for loan modifications.
         12
              88. BAYVIEW breached its duty by (1) failing to review Plaintiffs applications in a timely manner,
         13                        .                    .   .

                 (2) misrepresenting the status of Plaintiffs loan modification applications; and (3) initiating and
         14
                 continuing foreclosure in violation of public policy and statutory restrictions on dual-track
         15
                 foreclosures.
         16
              89. Plaintiffs complete loan modification application was in process in 2016 and 2017. BAYVIEW
         17
                 received all the documents and information Plaintiff gave BAYVIEW as part of the loan
         18
                 modification review process, thus, Plaintiff had a complete loan modification application in
         19
                 review and BAYVIEW undertook a review of Plaintiffs application.
         20
              90. The transaction was intended to affect Plaintiff and it was entirely foreseeable that failing to
         21
                 timely and carefully process the loan modification applications could result in significant harm
         22
                 to Plaintiff in that the decision on Plaintiffs application would determine whether they could
.‘       23                                 ..      .

                 keep the home. In addition, Plaintiffs credit rating would be adversely affected, thereby

                 making it more difficult for Plaintiff to secure alternative financing to cure the default.
     25
              91. The injury to Plaintiff is certain. The mishandling of the documents deprived Plaintiff of the

                 possibility of obtaining loss mitigation assistance and Plaintiff now faces imminent foreclosure
     °   27
                 and eviction from their family home.
     28



                                  COMPLAINT FOR DAMAGES AND EQIJITABLE RELIEF
                                                                 17

                                                                                                           Exhibit C
                                                                                                           000047
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      92. There is a close connection between BAYVIEW’s conduct and Plaintiffs injuries. To the extent
  2
             Plaintiff otherwise qualified and would have been granted a modification, BAYVIEW’s conduct
  3
             in misdirecting the papers submitted by Plaintiff directly precluded the loan modification
  4
             application from being timely processed. Plaintiff now faces imminent foreclosure as a result of
  5
             BAYVIEW initiating and continuing foreclosure action in violation of HBOR’s restrictions on
  6
             dual-tracking.
  7
      93.    The policy of preventing future harm favors imposing a duty of care on an entity in Bayview’s
  8
             position. In fact, this is evidenced by the fact that the State of California, through legislation,
  9
             has enacted the Homeowner’s Bill of Rights in an effort to prevent future harm from
 10
             unnecessary and wrongful foreclosures.
 11
      94. As a direct and proximate result of the negligence and carelessness of BAYVIEW and its
 12
             representatives Plaintiff has suffered, and continues to suffer, general and special damages in an
 13
             amount to be determined at trial
 14                                                     PRAYER

 15   WHEREFORE, Plaintiff prays for judgment against each Defendant, jointly and severally, as

 16   follows:

 17     1.    For damages sustained by Plaintiff due to Defendants’ wrongful acts in excess of the
 18           jurisdictional limits in an amount to be proven at trial;
 19     2.     For disgorgement of all monies acquired by Defendants by means of any act or practice

20            declared by this Court to be wrongful;

 21     3.     Pursuant to Bus. & Prof. Code § 17200, et seq., that all Defendants, their employees, agents,

22            representatives, successors, assigns, and all persons who act in concert with them, be

23            permanently enjoined from making any false or misleading statements or falsely reporting

 24           negative credit to reporting agencies, and from selling the foreclosed property on an

25            unlawfully procured debt;

 26     4.    Pursuant to Bus. & Prof. Code §17200, etseq., that this Court make such orders or judgments

 27           necessary to prevent the use or employment by any Defendant of any act which violates




                              COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
                                                             1$

                                                                                                        Exhibit C
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    Case 3:19-cv-00050-BAS-AGS Document 5-5 Filed 03/21/19 PageID.119 Page 50 of 59

      I           § 17200, et seq.; and to restore to any person in interest, any money or property, real or
      2           personal, which may have been acquired by means of any such act;
      3     5.    For disgorgement of all monies acquired by Defendants by means of any act or practice
      4           declared by this Court to be wrongful;
      5    6. For interest on the sum at the rate of 10% per annum;
      6    7.     For punitive damages against Defendants due to their intentional, reckless or willful wrongful

      7           acts;

      8     8.    For any and all relief granted under California Civil Code      § 2924.12(b);
      9    9.     For reasonable attorney’s fees and costs of suit, as allowed by law, and all other relief granted

     10           under Civil Code §2924.12(1);

     11     10.   For injunctive relief as set forth herein; and

     12     11,   For such other and further relief as this Court deems just and proper.

     13
          Dated: July 6, 2017               LAW OFFICES Of JOSEPH R. MANNING, JR.
     14                                     A PROFESSIONAL CORPORATiON
     15
     16                                            By:____________________________
                                                     Josep     Manni.        sq.
                                                                             .,



     17                                              Attorneys for Plaintiff

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                                 COMPLAINT FOR DAMAGES AND EQUiTABLE RELIEF
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                                                                                                        Exhibit C
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           Case 3:19-cv-00050-BAS-AGS Document 5-5 Filed 03/21/19 PageID.120 Page 51 of 59

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                                                Exhibit A
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 If)
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çc.)

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                              COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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Branch :WRC,User :3027                               Comment:                                                                 Station Id :LZI9




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                           SaMceUnk                                                   OFFICIAL RECORDS
               WHEN RECORDED MAIL TO:                                        SAN WEGO COUNTY RECORDER
                                                                                    FEES: $27.00
               Clear Recon Corp.                                                                             PAGES: 4
               4375 Juthind Drive Suite 200
               San Diego, California 92117
               866-931-0036


               T.S. No.: 048253-CA
               APN: 126-490-07-00                                     SPACE ABOVE THIS LINE FOR RECORDERS USE
               Property Address; 30945 CUVMSON,                       Title Order No.: 160271992-CA-VOl
               BONSALL, CA 92003

                                          NOTICE OF DEFAULT
                                      Pursuant to CA Civil Code 2923.3
                   NOTE: THERE IS A SUMMARY OF THE tNFORMATION IN THIS DOCUMENT
                                                AHACHED

                             flA:          hf Oil    £04MJF LlC.
               NOTA: SE ADIUNTA UN RESUMEN DE LA INFORMACIÔN DE ESTE DOCUMENTO
                 TALA: MAYROONG BUOD NG IMPORMASYON SA DOKUMENTONG ITO NA
                                           NAKALAKIP
               WU ‘(: KEM THEO DAY LA BAN TRINH BAY ToM WQ’C yE THONG TIN TRONG
                                          TAI LIU NAY

                                               IMPORTANT NOTICE
               IF YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU ARE
               BEHIND IN YOUR PAYMENTS, IT MAY BE SOLD WITHOUT ANY
               COURT ACTION,
               and you may have legal right to bring your account in good standing by paying all of your
               past due payments plus permitted costs and expenses within the time permitted by law for
               reinstatement of your account, which is normally five business days prior to the date set for
               the sale of your property. No sale date may be set until approximately 90 days from the
               date this notice of default may be recorded (which date of recordation appears on this
               notice).

               This amount is $646,252.47 as of 11/28/2016, and will increase until your account becomes
               current. While your property is in foreclosure, you still must pay other obligations (such as
               insurance and taxes) required by your-note and deed of trust or mortgage, if you fail to
               make future payments on the loan, pay taxes on the property, provide insurance on the
               property, or pay other obligations as required in the note and deed of trust or mortgage, the
                                                        Page 1 of 3
                                                                                                 CRCNOD 09122014




SAN DIEGO,CA                                         Page 1 of4                           Printed on 6/26/2017 11:30:00 AM
Document: ND 2016.656132




                                                                                                                              Exhibit C
                                                                                                                              000051
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Branch :WRC,User :3027                                Comment:                                                  Station Id :LZI9




              Trustee Sale No.: 048253-CA Title Order No,: 160271992-CA-VOl

              beneficiary or mortgagee may insist that you do so in order to reinstate your account in
              good standing. In addition, the beneficiary or mortgagee may requfre as a condition of
              reinstatement that you provide reliable written evidence that you paid all senior liens,
              property taxes, and hazard insurance premiums.

              Upon your written request, the beneficiary or mortgagee will give you a written Itemization
              of the entire amount you must pay. You may not have to pay the entire unpaid portion of
              your account, even though full payment was demanded, but you must pay all amounts in
              deCauk at the time payment is made. However, you and your beneficiary or mortgagee may
              mutually agree in writing prior to the time the notice of sale is posted (which may not be
              earlier than three months after this notice of defautt is recorded) to, among other things. (1)
              provide additional time in which to cure the default by transfer of the property or
              otherwise; or (2) establish a schedule of payments in order to cure your default; or both (1)
              and (2).

              Following the expiration of the time period referred to in the first paragraph of this notice,
              unless the obligation being foreclosed upon or a separate written agreement between you
              and your creditor permits a longer period, you have only the legal right to stop the sale of
              your property by paying the entire amount demanded by your creditor. To find out the
              amount you must pay, or to arrange for payment to stop the foreclosure, or if your
              property is in foreclosure for any other reason, contact:

              THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS
              TRUSTEE (CWALT 2006-0A12)
              C/O Clear Recon Corp.
              4375 Jutland Drive Suite 200
              San Diego, California 92117
              Phone: 858-750-7600

              If you have any questions, you should contact a lawyer or the governmental agency which
              may have insured your loan. Notwithstanding the fact that your property is in foreclosure,
              you may offer your property for sale, provided the sate is concluded prior to the conclusion
              of the foreclosure. Remember, YOU MAY LO$I LEGAL RIGHTS IF YOU DO
              NOT TAKE PROMPT ACTION.

               NOTICE IS HEREBY GIVEN: CLEAR RECON CORP. is either the original trustee, the
               duly appointed substituted trustee or the designated agent of the holder of the beneficial
               interest under a deed of trust dated 6/23/2006, executed by IULARIO GONZALEZ, AND
               DAWN MELKUS-GONZALEZ, HUSBAND AND WIFE AS COMMUNITY PROPERTY
               WITH R1GffS OF SURV1VORSifiP, as Trustor, to secure certain obligations in favor of
               the beneficiary thereunder, recorded 7/6/2006, as Instrument No. 2006-0476641, of Official
               Records in the Office of the Recorder of San Diego County, California, encumbering the
               land as fully described on said Deed of Trust


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                                                                                           CRC NOD 09122014




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                                                                                                                Exhibit C
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               Trustee Sale No.: 048253-CA Title Order No.: 160271992-CA-VOl

               That a breach of, and default in, the obligations for which such Deed of Trust is security
               has occurred in that payment has not been made of:

               Installment of Principal and Interest plus impounds and/or advances which became due on
               7/1/2009 pIus late charges, and all subsequent installments of principal, interest, balloon
               payments, plus Impounds and/or advances and late charges that become payable.

               That by reason thereof, TIlE BANK OF NEW YORK MELLON PICA TUE BANK OF
               NEW YORK, AS TRUSTEE (CWALT 2006-0A12), the present beneficiary under such
               Deed of Trust has deposited with said trustee such Deed of Trust and all documents
               evidencing obligations secured thereby and has declared and does hereby declare all sums
               secured thereby immediately due and payable and has elected and does hereby elect to
               cause the trust property to be sold to satisfy the obligations secured thereby.


                                                    CLEAR RECON CORP.


               Date Executed:                     BY:________________________________
                                                     t4vfp (*4fl2 , 5ied Signor
                                                    CLEAR RECON CORP.
                                                    4375 Jutland Drive Suite 200
                                                    San Diego, California 92117




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                                                                                         CRC NOD 09122014




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                                                                                                             Exhibit C
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Branch :WRC,User :3027                                              Comment:                                                               Station Id :LZI9




                                                 Declaration of Mortgage Servicer Pursuant to
                                                            Civil Code §2923.55(c)

                 Borrower(s): H1LARIO GONZALES, DAWN MELKUS-GONZALES
                 Mortgage Servicer: Bayview Loan Servicing, LLC
                 Property Address: 30945 CUVAISON BONSALL, CA 92003
                 Loan No.: 1108218
                 T.S. No.:

                 The undersigned, as an authorized agent or employee of the mortgage servicer named below, declares that:

                         1.      The mortgage servicer has contacted the borrower pursuant to California Civil Code § 292355(b) [2)
                               to ‘assess the borrower’s financial situation and explore options for the borrower to avoid foreclosure.’
                               Thirty (30) days, or more, have; passed since the initial contact was made.

                         2. D The mortgage servicer flee tried with due diligence to contact the borrower(s) as required by Ceilfomla
                             CMI Code 5 2923.S5(f) (1) and 5 2923.55(f) (3)-(5) The telephone contact requirements under 5
                             2923.55ff) (2) were not attempted pursuant to the borrower’s previously requesi for cease
                             communication. No contact has been made despite such due diligence. The due diligence efforts were
                             satisfied on  —




                         3.   Q Despite the exercise of du diligence pursusnt to Caiifomia CivIl Code 5 2923.55ff), the Mortgage
                               servicer hs been unable to contact the borrower to ‘assess die borrower’s financial sttuation and
                               explore options for the borrower to avoid foreciosure.’ Thirty (30) days, or there, have passed since
                               these due diligence efforts were satisfied.

                         4. Q No contact was required by the mortgage servicer because tie individuai(s) did not meet the definition
                             ot ‘borrower” pursuant to subdivision fc) of Section 2920.5.

                         S.      The requirements of Cal. Clvii Code § 2923.55 do not apply because the loan is not secured by a first
                               lien mortgage or first deed of trust that secures a loan, or that encumbers reai property, described In
                               Clvii Code 5 2924.15(a),

                         6. üThe requirements of Cal. CivO Code § 2923.55 do not apply because:

                                      .._.....   The secured property Is nonowner occupied.

                                      b._ The secured property Is commercial or vacant land.

                                      c._ The secured property is exempt from due diligence, the borrower Is deceased.


                 I certify that this declaration is accurate, complete end supported by competent and reliable evidence which the
                 mortgage servicer hes reviewed to substantiate the borrower’s default nd the right to foreclose, inciuding the
                 borrower’s loan status and loan information,

                                                                              Bayvlew Loanlwicln LLC
                                                                                         /   —

                 Dated: 11/16/2016                                          By:
                                                                                    /7
      V                                                                           EGORY HARRISON
                                                                                  Stete Declaration Processor Loss Mitigetion QA
                                                                                                                           -




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                                                                                                                                           Exhibit C
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            14                                  Exhibit B

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                              COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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                                                                                 Exhibit C
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Branch :WRC,User :3027                                          Comment:                                                                         Station Id :LZI9




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                                                                                           DOC# 2017-0108177
               RECORDING REQUESTED BY
                                                                                           IIIINIViIlIII1 N IIIIOhIUII DIllhiIIII1IU IIllII1I’
                                                                                               Mar08 2017 0405 PM
               And When Recorded Mail To:
                                                                                                   OFFICIAL RECORDS
                                                                                               Ernest I Dronenburg, Jr,
               CLEARRECONcORP,                                                               SAN DIEGO COUNTY RECORDER
               4375 Jutland Drive Suite 200                                                            FEES: $24.00
               San Diego, California 92117                                                                                     PAGES: 3
               Phone; 366-931-0036

               T.S. No. 048253-CA
               A?N: 126-490-0740                                                         Space Above This Line For Recorder’s Use

                                         NOTICE OF TRUSTEE’S SALE
                                      Pursuant to CA Civil Code 2923.3
               NOTE: THERE IS A $UMJ4AJY OF THE INFORMATION iN THIS DOCUMENT ATfACHED

                                                        M0iI      £2iM3l lLIU
                           NOTA: SE ADJUNTA UN RESUMEN DE LA INFORMACION DE ESTE DOCUMENTO
                       TALfi: MAYROONG BUOD NG IMPORMASYON SA DOKUMENTONG ITO NA NAKALAKIP
                    LIIU ‘?: KEM THED DAY LA BAN TRINH BAY TOM LLYYC VE THONG TIN TRONG TAI LlU NAY

                                           IMPORTANT NOTICE TO PROPERTY OWNER;

               YOU ARE IN DEFAULT UNDER A DEED OP TRUST, DATED 6/2312006. UNLESS YOU TAKE ACTION TO
               PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE. IT YOU NEED AN EXPLANATION
               OF THE NATURE OF THE PROCEEDING AGAINST YOU, YOU SHOULD CONTACT A LAWYER

               On 413/2017 at 1:00 PM, CLEAR RECON CORP., as duly appointed trustee under and pursuant to Deed of Trust
               recorded 7/6/2006, as Instrument No. 2006-0476641, of Official Records in the office of the County Recorder of
               San Diego County, State of CALIFORNIA executed by:

               HILARTO GONZALEZ, AND DAWN MELKUS-GONZALEZ, HUSBAND AND WIFE AS COMMUMTY
               PROPERTY WITH RIGHTS OF SURVIVORSHIP

               WILL SELL AT PUBLIC AUCTION TO HIGHEST BIDDER FOR CASH, CASHIER’S CHECK DRAWN ON A
               STATE OR NATIONAL BANK, A CHECK DRAWN BY A STATE OR FEDERAL CREDiT UNION, OR A
               CHECK DRAWN BY A STATE OR FEDERAL SAVINGS AND LOAN ASSOCIATION, SAVINGS
               ASSOCIATION, OR SAVINGS BANK SPECIFIED IN SECTION 5102 OF THE FINANCIAL CODE AND
               AUTHORIZED TO DO BUSINESS N THIS STATE:

               OUTSIDE THE MAIN E1,’TRANCE AT THE SUPERIOR COURT NORTH COUNTY DIVISION, 325 S
               MELROSE DR, VISTA, CA 92081

               all right, title and interest conveyed to and now held by it under said Deed of Trust in the property situated in said
               County and State described as:

               PARCEL lLOT 33 OP COUNTY OF SAN DIEGO TRACT NO, 5037-3, ACCORDING TO MAP.
               THEREOF NO. 14899, FILED IN THE OFFICE OF THE COUNTY RECORDER OF SAN DIEGO
               COUNTY NOVEMBER 3,2004. MORE COMPLETELY DESCRThED IN ATTACHED EXHIBIT A.

               The street address and other common designation, if any, of the real property described above is purported to be:
               30945 CUVAISON
               BONSALL, CA 9Z003

               The undersigned Trustee disclaims any liability for any incorrectness of the street address and other common
               designation, if any, shown herein.

                                                                     Page 1 of 2
                                                                                                                         CRC NOS 012914




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                                                                                                                                                 Exhibit C
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               T.S. No. 048253-CA
                                                       NOTICE OF TRUSTEE’S SALE


               Said sate will be held, but without covenant or warranty, express or implied, regarding title, possession, condition, or
               encumbrances, including fees, charges and expenses of the Trustee and of the trusts created by said Deed of Trust, to
               pay the remaining principal sums ot the note(s) secured by said Deed of Trust. The total amount of the unpaid
               balance of the obligation secured by the property to be sold and reasonable estimated costs, expenses and advances
               atthe time of the initial publication of the Notice of Sale is: $1,582,852.13

               If the Trustee is unable to convey title for any reason, the successful bidder’s sole and exclusive remedy shall
               be the return of monies paid to the Trustee, nd the successful bidder shalt have no further recourse.

               The beneficiary under said Deed of Trust heretofore executed and delivered to the undersigned a written Declaration
               of Default and Demand for Sale, and a written Notice of Default and Election to Sell. The undersigned caused said
               Notice of Default and Election to Sell to be recorded in the county where the real property is located

               NOTICE TO POTENTIAL BIDDERS: If you are considering bidding on this property lien, you should
               understand that there are risks involved in bidding at a trustee auction. You will be bidding on a lien, not on the
               property itself Planing the highest bid at a trustee auction does not automatically entitle you to free and clear
               ownership of the property. You should also be aware that the lien being auctioned off may be a junior lien. If you
               are the highest bidder at the auction, you are or may be responsible for paying off all liens senior to the lien being
               auctioned off before you can receive cleat title to the property. You are encouraged to investigate the existence,
               priority, and size of outstanding liens that may exist on this property by contacting the county recorders office or a
               dUe insurance company, either of which may charge you a fee for this information. if you consult either of these
               resources, you should be aware that the same lender may hold more than one mortgage or deed of trust on the
               property.

               NOTICETO PROPERTY OWNER: The sale date shown on this notice of sale may be postponed one or more
               times by the mortgagee, beneficiary, trustee, or a court, pursuant to Section 2924g of the California Civil Code. The
               law requires that information about trustee sale postponements be made available to you and to the public, as a
               courtesy to those not present at the sale. If you wish to learn whether your sale date has been postponed, and, if
               applicable, the rescheduled time and date for the sale of this property, you may call (844) 477-7869 or visit this
               internet Web site WWW.STOXPOSTING.COM, using the file number assigned to this case 048253-CA.
               Information about postponements that are very short in duration or that occur close in time to the scheduled sale may
               not immediately be reflected in the telephone information or on the internet Web site. The best way to verify
               postponement Information is to attend the scheduled sale.

               FOR SALES INFORMATION: (844) 477-789
                                                                    CLEAR RICON CORP.
               DateExevuted:       “)Z) 11t

                                                                                                      Signature
                                                                    CHRISTINE RATZLAFF
                                                                    CLEAR RECON CORP.
                                                                    4375 Jutland Drive Suite 200
                                                                    San Diego, CalIfornia 92117




                                                                      Page 2 of 2
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                                                                                                                                          Exhibit C
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               EXHIBIT A
               LEGAL DESCR1PTION
               REF. NO. 043253-CA
               PARCEL 1:
               LOT 33 OF COUNTY OF SAN DIEGO TRACT NO. 5037-3, ACCORDING TO MAPIHEREOF NO,
               14899, FILED IN THE OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY NOVEMBER
               3, 2004. EXCEPT THEREFROM FOR THE BENEFIT OF ALL OWNERS WITHIN AGUACATE RANCH
               COMMUNITY ASSOCIATION, A CALIFORNIA NONPROFIT MUTUAL BENEFIT CORPORATION, A
               NQNEXCLUSIVE EASEMENT ON AND OVER THE COMMON AREA PRIVATE STREETS AND ENTRY
               GATE, AS DEFINED AND DEPICTED IN THE DECLARATION HEREINAFTER REFERRED TO, FOR
               INGRESS, EGRESS, AND PRIVATE ROAD PURPOSES, INCLUDING THE RIGHT TO ACCESS AND
               MAINTAIN SAID ROAD, SUBJECT TO THE TERMS AS MOREPARTICULARLY SET FORTH IN THE
               DECLARATION HEREINAFTER REFERRED TO. EXCEPT UNTO GRANTOR, ITS SUCCESSORS AND
               ASSIGNS, TOGETHER WITH THE RIGHT TO GRANT AND TRANSFER ALL OR A PORTION OF THE
               SAME, (A) ALL OIL, OIL RIGHTS, MINERALS, MINERAL RIGHTS, NATURAL GAS, NATURAL GAS
               RIGHTS AND OTHER HYDROCARBONS BY WHATSOEVER NAME KNOWN, GEOTHERMAL STEAM
               AND ALL PRODUCTS DERIVED FROM ANY OF THE FOREGOING, THAT MAY BE WITHIN OR
               UNDER THE PARCEL OF LAND HEREINABOVE DESCRIBED, TOGETHER WITH THE PERPETUAL
               RIGHT OF DRILLING MINING, EXPLORING AND OPERATING THEREFOR AND STORING IN AND
               REMOVING THE SAME FROM SAID LAND OR ANY OTHER LAND, INCLUDING THE RIGHT TO
               WHIPSTOCK OR DIRECTIONALLY DRILL AND MINE FROM LANDS OTHER THAN THOSE
               HEREINABOVE DESCRIBED, OIL OR GAS WELLS, TUNNELS AND SHAFTS INTO, THROUGH OR
               ACROSS THE SUBSURFACE OF THE LAND HEREINABOVE DESCRIBED, AND TO BOTTOM SUCH
               WHIPSIOCKED OR DIRECTIONALLY DRiLLED WELLS, TUNNELS AND SHAFTS UNDER AND
               BENEATH OR BEYOND THE EXTERIOR LIMITS THEREOF, AND TO REDRILL, RETUNNEL, EQUIP,
               MAINTAIN, REPAIR, DEEPEN AND OPERATE ANY SUCH WELLS OR MINES WITHOUT, HOWEVER,
               THE RIGHT TO DRILL, MINE, STORE, EXPLORE AND OPERATE THROUGH THE SURFACE OR THE
               UPPER 500 FEET OF THE SUBSURFACE OF THE LAND HEREINABOVE DESCRIBED; AND f B) ANY
               AND ALL WATER, WATER RIGHTS OR INTERESTS THEREIN APPURTENANT OR RELATING TO
               THE LAND HEREINABOVE DESCRIBED, OR OWNED OR USED BY GRANTOR IN CONNECTION
               WITH OR WITH RESPECT TO THE LAND (NO MATTER HOW ACQUIRED BY GRANTOR), WHETHER
               SUCH WATER RIGHTS SHALL BE RIPARIAN, OVERLYING, APPROPRIATE,
               LITTORAL, PERCOLATING, PRESCRIPTIVE, ADJUDICATED, STATUTORY OR CONTRACTUAL,
               TOGETHER WITH THE RIGHT AND POWER TO EXPLORE, DRILL, REDRILL, REMOVE AND STORE
               THE SAME FROM OR IN THE LAND OR TO DIVERT OR OTHERWISE UTILIZE SUCH WATER,
               RIGHTS OR INTERESTS ON ANY OTHER PROPERTY, WHETHER OR NOT SUCH OTHER
               PROPERTY IS OWNED OR LEASED BY GRANTOR: BUT WITHOUT, HOWEVER, ANY RIGHT TO
               ENTER UPON THE SURFACE OF THE LAND tN THE EXERCISE OF SUCH RIGHTS. FURTHER
               RESERVING UNTO GRANTOR, ITS SUCCESSORS AND ASSIGNS, TOGETHER WITH THE RIGHT
               TO GRANT AND TRANSFER ALL OR A PORTION OF SAME, EXCEPT AS GRANTED HEREBY,
               EASEMENTS AND RIGHTS RESERVED BY GRANTOR AS DECLARANT AND OWNER IN THE
               DECLARATION HEREINAFTER REFERRED TO.
               PARCEL 2:
               EASEMENTS AND RIGHTS FOR THE BENEFIT OF GRANTEE AS SET FORTH IN THE
               DECLARATION OF COVENANTS, CONDITIONS AND RESTRICTIONS RECORDED
               DECEMBER 12, 2007 AS INSTRUMENT NO. 2001-0912649, AND SUPPLEMENTARY
               DECLARATION OF COVENANTS, CONDITIONS AND RESTR1CTIONS RECORDED
               MARCH 29, 2005 AS INSTRUMENT NO. 2005-0252122, BOTH OF OFFICIAL RECORDS




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                                                                                                     Exhibit C
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